 Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 1 of 39 PageID #:914
                                  EXHIBIT E




Transcript of Deputy Rollie Elder
                        Date: November 19, 2019
                     Case: Agnew, et al. -v- Cater, et al.




   Planet Depos
   Phone: 888.433.3767
   Email:: transcripts@planetdepos.com
   www.planetdepos.com



            WORLDWIDE COURT REPORTING & LITIGATION TECHNOLOGY
      Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 2 of 39 PageID #:915
                                       EXHIBIT E
                                                    Transcript of Deputy Rollie Elder                                             1 (1 to 4)

                                                    Conducted on November 19, 2019
                                                               1                                                                               3
1    STATE OF ILLINOIS     )                                        1                      INDEX TO EXAMINATION
                           ) SS:
2    WESTERN DIVISION      )                                        2
                                                                         WITNESS:    DEPUTY ROLLIE ELDER
3            IN THE UNITED STATES DISTRICT COURT                    3
            FOR THE NORTHERN DISTRICT OF ILLINOIS
4                      WESTERN DIVISION                             4    EXAMINATION                                       PAGE
5                                                                   5    By Mr. Brooks                              4, 57, 64
     ANNIE AGNEW and NAYSHAWN )                                          By Ms. Ostvig                                 51, 63
6    EDWARDS, as Independent  )                                     6
     Co-Administrators of the )
7    Estate of Nathaniel (Nate)
                              )                                     7
     Edwards,                 )
8                             )                                     8
             Plaintiffs,      )
9                             )                                     9
   vs.                        ) No. 18 CV 50035
10                            )                                     10
   City of Rock Falls, et al.,)
11                            )                                     11
             Defendants.      )
12                                                                  12                      INDEX TO EXHIBITS
13                         DEPOSITION OF                            13 EXHIBIT      DESCRIPTION                     PAGE
14                      DEPUTY ROLLIE ELDER                         14
                                                                                                     (NONE)
15                                                                  15
16                       November 19, 2019                          16
17                           1:45 p.m.                              17
18                                                                  18
19            The Holiday Inn Express & Suites                      19
20                      301 East 2nd Street                         20
21                      Rock Falls, Illinois                        21
22                                                                  22
23                                                                  23
24            Konni L. Stapf, CSR No. 084-004144                    24


                                                               2                                                                               4

1                   APPEARANCES OF COUNSEL                          1                      DEPUTY ROLLIE ELDER,
2                                                                   2    a witness herein, having been first duly sworn to
     on Behalf of the Plaintiff(s):
3                                                                   3    speak the truth and nothing but the truth, was
     MELVIN L. BROOKS
4    Cochran Firm                                                   4    examined and testified as follows:
     140 South Dearborn Street, Suite 1020
5    Chicago, IL 60603                                              5
     312.262.2880
6    mbrooks@cochranfirm.com                                        6                        EXAMINATION
7                                                                   7    BY MR. BROOKS:
     on Behalf of the Defendant(s):
8                                                                   8         Q.       Sir, would you state your full name for
   DEBORAH ANNE OSTVIG
9  Schain, Banks, Kenny & Schwartz, Ltd.                            9    the court reporter, spelling your first name and
   70 West Madison Street, Suite 5300
10 Chicago, IL 60602                                                10 last name.
   312.345.5700
11 dostvig@schainbanks.com                                          11        A.          Rollie A. Elder, R-o-l-l-i-e, Elder,
12                                                                  12 E-l-d-e-r.
     on Behalf of the Witness:
13                                                                  13                 MR. BROOKS:     The record should reflect
   BENJAMIN JACOBI
14 O'Halloran Kosoff Geitner & Cook, LLC                            14 this is the discovery deposition of Rollie A. Elder
   650 Dundee Road, #475
15 Northbrook, IL 60062                                             15 taken pursuant to the Federal Rules of Civil
   224.406.8405
16 bjacobi@okgc.com                                                 16 Procedure and the also the applicable rules of the
17                                                                  17 Northern District in the State of Illinois.
18                                                                  18 BY MR. BROOKS:
19                                                                  19        Q.       Deputy Elder, you have given a
20                                                                  20 deposition before?
21                                                                  21        A.          Yes, sir.     It's been quite a few years.
22                                                                  22 20 plus.
23                                                                  23        Q.       Well, let me ask you this:     First of
24                                                                  24 all, how long have you been in law enforcement?



                                                            PLANET DEPOS
                                               888.433.3767 | WWW.PLANETDEPOS.COM
    Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 3 of 39 PageID #:916
                                     EXHIBIT E
                                       Transcript of Deputy Rollie Elder                              2 (5 to 8)

                                       Conducted on November 19, 2019
                                                         5                                                          7
1      A. In 2006, I believe it was, I got on the            1      A. My last day with Whiteside would have
2 auxiliary patrol for the Whiteside County Sheriff's        2 been the last day of March 2019. My first
3 office.                                                    3 full-time day with the Village of Erie would have
4      Q. Prior to that, had you any other law               4 been April 1.
5 enforcement experience?                                    5           I've been working part-time and interim
6      A. No, sir.                                           6 chief on my days off of the county. I was the
7      Q. When you gave a deposition, it was not             7 part-time interim chief for the Village of Erie
8 in connection -- was it in connection with law             8 starting back about the middle of August of last
9 enforcement activities?                                    9 year.
10     A. No, sir.                                           10     Q. And now you're the full-time chief?
11     Q. I'm sure counsel has sort of explained             11     A. Yes, sir.
12 how a deposition works. I, obviously, have some           12     Q. As the chief of Erie County, it is Erie
13 questions of you concerning certain information           13 County or the City of Erie?
14 that you have surrounding an officer involved             14     A. It's the Village of Erie, which is
15 shooting in January of 2018.                              15 inside Whiteside County.
16          If at any time you do not understand my          16     Q. As the chief for the Village of Erie,
17 question,  let me know. I'll restate it and               17 can  you tell me how many officers you basically
18 rephrase it to make sure we're both on the same           18 manage or supervise?
19 page.                                                     19     A. Yes, sir. Outside of myself, two other
20          If you can answer a question yes or no,          20 full-time officers, and then we have, I want to
21 please do so instead of using some of the common          21 say, five part-time officers. I'm trying to count
22 verbiage we use in every day conversation, uh-huh,        22 them, which are mostly off duty or retired
23 huh-uh, something to that nature. It's just tough         23 Whiteside County deputies.
24 for the court reporter to take down.                      24     Q. Do the part-time officers work less
                                                         6                                                          8
1          The other thing is you may anticipate a           1 than a full workweek?
2 question that I'm going to ask you, so you'll start        2     A. Yes.
3 talking because you know exactly what I'm going to         3     Q. How many hours do they typically work?
4 ask you. We will talk at the same time and, again,         4     A. There is no set schedule for the
5 that makes it difficult for the court reporter.            5 part-time officers. I'm lucky if I can get guys to
6          The last point that I would add, if you           6 work maybe 16 hours a month would be nice.
7 need to take a break for the dog or whatever               7     Q. Are they essentially on call as needed?
8 reason, you let me know and of course we'll take           8     A. What I do -- my process is this: So
9 the break. The only thing that I would ask is if I         9 we're going to be coming up on the month of
10 ask you a question and there is a question pending,       10 December, so I will set the schedule for the full
11 that you answer that question before you go take          11 time officers out. And once that is filled with
12 the break. Fair enough?                                   12 the hours, so everybody gets at least 80 hours
13     A. Understood.                                        13 during a pay period, then I text all the part-time
14     Q. All right. You are currently working               14 officers and say, hey, guys, the schedules out,
15 as a deputy with Whiteside County?                        15 whatever you're willing to work on your days off,
16     A. No, sir, I'm not.                                  16 come on down and sign up. And that's how we handle
17     Q. Where are you at now?                              17 it. Usually, I'll get, just like anywhere else,
18     A. I'm the Chief of Police of the Erie                18 some officers are more active at signing up on
19 Police Department.                                        19 their days off than other people are.
20     Q. All right. When did you leave                      20 Q. I understand. I want to go back to
21 Whiteside County?                                         21 your employment with Whiteside County. At the time
22     A. April 1.                                           22 that you left, were you still considered a deputy
23     Q. April 1 of this year you left the                  23 or were you holding some other position?
24 Whiteside County Sheriff's Department?                    24 A. I was a patrol deputy/canine handler.
                                             PLANET DEPOS
                                888.433.3767 | WWW.PLANETDEPOS.COM
    Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 4 of 39 PageID #:917
                                     EXHIBIT E
                                    Transcript of Deputy Rollie Elder                              3 (9 to 12)

                                    Conducted on November 19, 2019
                                                 9                                                            11
1      Q. So essentially you had obviously a             1 especially this time of year, to come across an
2 number of responsibilities, but in terms of your       2 injured deer on the road. We put them down
3 title, you had two specific roles, very specific       3 regularly.
4 roles?                                                 4      Q. I understand. So in terms of using
5      A. Yes, sir.                                      5 your weapon, it's been in that context?
6      Q. I have a sense of this, but can you            6      A. Yes, sir.
7 tell me how your role as a canine officer differs      7      Q. I take it you've never used your weapon
8 from your role as a patrol officer?                    8 in the context of some interaction you had with a
9      A. Well, the canine -- being the canine           9 citizen?
10 handler for the department is obviously a             10     A. That's correct, sir.
11 specialized unit. So we are more of an assist         11     Q. Beyond working in law enforcement, can
12 agency. Not only do we conduct our regular patrol     12 you give me a better sense of your employment
13 like every other deputy along with civil process      13 history?
14 and traffic crash investigations and DUI              14     A. Prior to my law enforcement career, I
15 investigations, but being the canine handler, we do   15 have done construction. I grew up in a family with
16 a lot of specialty stuff like help out with drug      16 a small construction business. I've worked for my
17 investigations.                                       17 grandfather almost every day off of school from the
18          When there is an incident where another      18 time that I could walk. I was either -- in some
19 jurisdiction needs us due to a suspect fleeing, I     19 capacity, I was on a jobsite.
20 was the only canine handler in Whiteside County for   20          So I joined the Labor's Union shortly
21 quite some time, so I was primarily called to         21 after graduating high school out of Dixon, and
22 assist all the other agencies.                        22 there was a lot of times that I would work a night
23     Q. When you joined Whiteside County, at           23 shift maybe at the nuke plant in Byron as a
24 that time did you take on the title of deputy?        24 laborer, and then I would work day shifts for my
                                                 10                                                           12
1      A. I believe everybody that works for the         1 grandfather pouring concrete.
2 sheriff's office is considered a deputy, but you       2             So it was -- so construction has always
3 have different roles. I was hired March 3, 2008,       3  been   --  I guess it's easy to say it's in my blood.
4 as court security at the Sterling branch or eastern    4      Q. Sure. So essentially your professional
5 Whiteside County Courthouse up until May of 2009       5 career has either been in the construction field or
6 and that's when I was sent to the police training      6 law enforcement for the most part?
7 Institute down in Champaign.                           7      A. Yes, sir.
8      Q. All right. In your career as a law             8      Q. As far as the construction industry is
9 enforcement official, have you ever fired your         9 concerned, do you still hold some type of labor
10 weapon in the course of performing your duties as a   10 certification or card?
11 law enforcement officer?                              11     A. No, sir. It's been so long since I
12     A. Yes, sir.                                      12 have had any certification or anything through the
13     Q. Can you tell me when the very first            13 labors, so I'm sure all of those would be expired
14 time would have been?                                 14 by now.
15     A. I cannot give you exact dates.                 15     Q. Okay. Do you hold any, let's say,
16     Q. Understandable.                                16 special   certification or license beyond your
17     A. However, I can give you examples.              17 current title with Erie Village?
18     Q. All right.                                     18     A. Just the law enforcement.
19     A. Being a sheriff's deputy, you work a           19     Q. Your credentials for law enforcement
20 lot of rural areas. The only time that I've ever      20 for one to become a canine officer, you have to
21 fired my weapon was to put down an injured deer or    21 have special training for that?
22 an injured dog.                                       22     A. Yes, sir.
23     Q. Okay.                                          23     Q. And you ultimately received
24     A. It's actually a very common thing,             24 certifications, I take it?
                                           PLANET DEPOS
                              888.433.3767 | WWW.PLANETDEPOS.COM
    Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 5 of 39 PageID #:918
                                     EXHIBIT E
                                       Transcript of Deputy Rollie Elder                           4 (13 to 16)

                                       Conducted on November 19, 2019
                                                     13                                                           15
1      A. Yes. In 2012, I attended the Illinois           1      Q. How did you become aware of the
2 State Police Canine Academy, which is a ten-week        2 debriefing?
3 curriculum, and I graduated from there.                 3      A. I don't recall.
4      Q. Did you know Nathaniel Edwards prior to         4      Q. Something of that nature, the
5 the shooting that took place in January of 2018?        5 debriefing that took place at some point after the
6      A. No, sir, not that I recall at all.              6 shooting, are you aware of any other time where
7      Q. Do you know if you had any interaction          7 there was a debriefing of that nature during your
8 with any of the persons who lived at the address        8 career with Whiteside County?
9 where the shooting took place?                          9      A. Are you talking about just this
10     A. I don't know who lived there, so I              10 particular incident?
11 couldn't  answer that.                                 11     Q. I'm talking about just during your
12     Q. I take it that you had never been to            12 entire career with Whiteside County, are you aware
13 that address on Franklin Street before this            13 of any other time where there was a debriefing of
14 shooting that took place in January of 2018?           14 this nature?
15     A. Not that I can recall. If I have ever           15     A. There was a debrief, I remember out at
16 been to the house, we do civil process, obviously,     16 the Illinois State Police headquarters for a
17 through the sheriff's, court notices, and the          17 critical incident that happened one time, it was a
18 number of addresses that we go to is pretty random.    18 pretty complex case. What case it was, I do not
19 So to give you a definitive answer if I've ever        19 recall.
20 been there, I can't.                                   20     Q. You said it was a critical incident.
21     Q. Sure. The name Carli Fischbach, does            21 Explain that to me.
22 that mean anything to you?                             22     A. Any incident that is complex enough
23     A. The Fischbach name is a common Rock             23 that it requires multiple jurisdictions to assist
24 Falls name.                                            24 each other is something that I would call pretty
                                                     14                                                           16
1      Q. Common in what sense?                           1 complex or critical. And there was a debrief at
2      A. Just that there are Fischbachs in the           2 the Illinois State Police headquarters for an
3  Rock   Falls area.                                     3 incident at one time. I can't remember what that
4      Q. There are a lot of folks that have that         4 incident was.
5 last name?                                              5      Q. Do you recall how long ago that was?
6      A. I believe so, yes.                              6      A. I do not.
7      Q. Are you familiar with any specific              7      Q. The debriefing that took place at the
8 family with that last name?                             8 Rock Falls Community Center you were not present?
9      A. Not that I can recall.                          9      A. Correct.
10     Q. And the name Carli doesn't mean                 10     Q. Do you have a sense of who was present?
11 anything to you, does it?                              11     A. I do not.
12     A. No, sir.                                        12     Q. Have you talked to any officers about
13     Q. Do you know since the shooting whether          13 the debriefing?
14 or not you've had any contact with the Edwards         14     A. I remember talking with officers in
15 family, any member of the Edwards family?              15 passing, hey, how was the debrief. I couldn't give
16     A. I don't believe so, sir.                        16 you the names of them. I don't recall who it was,
17     Q. Deputy Coutts mentioned in his                  17 just a generalization.
18 deposition that there was something which he called    18          And from what I understand, there
19 a debriefing that took place at some point after       19 wasn't  a  whole lot of -- I think they were told
20 the shooting. He thought it was at some community      20 that if anybody needed some counseling or anything
21 center. Do you recall that?                            21 like that, that would be available, but other than
22     A. I remember they did have a debrief. I           22 that, that's about the only information that I got
23 believe that was at the Rock Falls Community           23 out of it.
24 Center, but I did not attend it.                       24     Q. Do you know which police jurisdiction,
                                             PLANET DEPOS
                                888.433.3767 | WWW.PLANETDEPOS.COM
    Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 6 of 39 PageID #:919
                                     EXHIBIT E
                                        Transcript of Deputy Rollie Elder                              5 (17 to 20)

                                        Conducted on November 19, 2019
                                                         17                                                       19
1 in terms of officers who were present, would have           1     Q. Or additional information would be
2 participated in that debriefing?                            2 added?
3      A. I don't know who was there.                         3     A. That's correct, sir.
4      Q. Fair enough. Now, at some point, you                4     Q. In anticipation of today's date, the
5 gave a statement to the Illinois State Police,              5 deposition, have you reviewed anything?
6 right?                                                      6     A. Yes, sir.
7      A. Yes, sir.                                           7     Q. What did you review?
8      Q. Do you recall when that statement was               8     A. I reviewed my statement to the Illinois
9 provided?                                                   9 State Police and then with the attorney present, I
10     A. It was a few days after the incident.               10 and Sean Coutts, we met at the sheriff's office and
11     Q. And where did the interview or                      11 watched the videos from our squad cars.
12 statement process take place at?                           12    Q. Did you watch the video from Sugars'
13     A. District one State Police Headquarters              13 squad car?
14 in Sterling.                                               14    A. Yes, sir, also his.
15     Q. When you attended the interview or                  15    Q. And when was that?
16 statement gathering with the Illinois State Police,        16    A. Yesterday. And just to clarify, I
17 did you attend that with anyone?                           17 watched  the video from the Rock Falls squad car,
18     A. Yes. Jay Titus who was our union                    18 but I don't know whose it was.
19 representation for the sheriff's office attended it        19    Q. Was a Rock Falls officer present when
20 with me.                                                   20 you watched the video?
21     Q. How long would you say that the                     21    A. Yesterday?
22 interview took?                                            22    Q. Yes.
23     A. I was going to say I was there at least             23    A. No, sir.
24 a couple of hours.                                         24    Q. How was it that you came to watch the
                                                         18                                                       20
1       Q. Was it a question and answer session or            1 video inside an officer's squad car?
2 did you provide a narrative to the Illinois State           2       A. No, no. I watched video from a --
3 Police?                                                     3       Q. Do you know -- the video that you
4       A. I provided a narrative.                            4 watched, which would have been from Rock Falls, if
5       Q. During the course of your providing a              5 it was from Officer Sugars' car?
6 narrative over two hours or so, was a written               6       A. I don't know whose squad car it was.
7 statement generated?                                        7       Q. So as you sit here today, you don't
8       A. I should clarify, there -- obviously,              8 know which officers from Rock Falls actually
9 they would ask me questions what took place. I              9 generated a dash cam video from their car?
10 would give them a narrative. One of the troopers           10      A. Definitively, I could not tell you, no,
11 would type that and then once we were done, they           11 sir.
12 would print it out, go over it, and I would look           12      Q. How many videos did you watch?
13 for any discrepancies or anything that would jar           13      A. Three.
14 anything that I would want to add to it and then           14      Q. The other two videos, were those from
15 obviously we would do it again.                            15 Whiteside County vehicles?
16      Q. So at different points during the                  16      A. Yes, sir.
17 course of your giving this statement to the                17      Q. And that would be your car and Deputy
18 Illinois State Police, a written portion of your           18 Coutts?
19 statement was provided to you?                             19      A. Yes, sir.
20      A. Yes, sir.                                          20      Q. Your video, your dash cam video, was
21      Q. And then you would read that over,                 21 there any audio?
22 there  may be additional questions, and changes            22      A. No, sir, I don't believe so.
23 would be made?                                             23      Q. Why not?
24      A. Yes, sir.                                          24      A. My body mic in my squad car did not
                                             PLANET DEPOS
                                888.433.3767 | WWW.PLANETDEPOS.COM
    Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 7 of 39 PageID #:920
                                     EXHIBIT E
                                       Transcript of Deputy Rollie Elder                                6 (21 to 24)

                                       Conducted on November 19, 2019
                                                         21                                                            23
1 work worth a darn.                                          1       Q. But you're saying you weren't
2      Q. When you say, it didn't work worth a                2 considerately further away from his vehicle than
3 darn --                                                     3 how it appears on the actual video?
4      A. Very unreliable.                                    4           MR. JACOBI: Form again.
5      Q. But it did work?                                    5       A. I don't think I'm understanding the
6      A. Periodically.                                       6 question. I apologize.
7      Q. Can you give me circumstances under                 7 BY MR. BROOKS:
8 where it would work?                                        8       Q. You've seen, obviously, the video from
9      A. Almost never. And I didn't have my                  9 your car and the video from Coutts, right?
10 body mic on when I exited my vehicle.                      10      A. Yes, sir.
11     Q. But you did have it?                                11      Q. Would you agree that the video from
12     A. I wasn't wearing it. It was in the                  12 your car appears to be significantly further away
13 holder inside the squad car.                               13 than the video from Coutts' vehicle?
14     Q. Do you normally wear your body mic?                 14          MR. JACOBI: Foundation. At what point
15     A. Yes, sir, I do.                                     15 in time, Counsel; after he parks, before he parks?
16     Q. Why didn't you have it on that                      16 BY MR. BROOKS:
17 particular day?                                            17      Q. Do you understand my question?
18     A. It just had not been working for so                 18      A. Are you asking about when I parked the
19 long it was kind of obsolete at that point.                19 squad car, my final spot?
20     Q. When your vehicle was actually                      20      Q. At some point on your video, you
21 capturing, let's say, the area where the shooting          21 capture a portion of the shooting incident, right?
22 took place, can you tell me where you were situated        22      A. I believe so.
23 in reference to the address where the white                23      Q. At the time that video captures a
24 Cadillac was located?                                      24 portion of the shooting, how close are you to
                                                         22                                                            24
1      A. As far as when I finally parked?                    1 Coutts' vehicle?
2      Q. Yes.                                                2       A. At the time of the shooting, I would
3      A. When I parked my squad car, I was                   3  just  be pulling on Franklin Street, so I would be
4 behind Deputy Coutts' squad car, which was -- we            4 several hundred feet back.
5 would have been west of the driveway where the              5       Q. That's what I'm most interested in, the
6 shooting occurred.                                          6 video from your car that actually captures at least
7      Q. Do you know how far behind Coutts'                  7 a portion of the shooting. You would agree with
8 vehicle?                                                    8 that, right?
9      A. Not very far. It would be a guess.                  9       A. I think it does.
10     Q. Let me ask you a little bit about this              10      Q. What do you believe it shows relative
11 then. In looking at the video, the dash cam from           11 to the shooting itself?
12 your car, it appears that you are a significant            12      A. I don't think I'm --
13 distance away as opposed to the video from Coutts'         13      Q. Your dash cam video, what do you
14 vehicle.                                                   14 believe it actually captures as far as the shooting
15          Can you explain why the video appears             15 itself?
16 to be so different in terms of the images that are         16      A. I'm not really sure if I'm
17 captured?                                                  17 understanding.
18          MR. JACOBI: Objection as to form,                 18      Q. The images that your dash cam captures
19 foundation,  but go ahead and explain the video.           19 at  the time of the shooting, can you tell me what
20     A. So, obviously, I was arriving on scene              20 it shows?
21 and pulled up on scene and parked behind Sean's car        21      A. I cannot.
22 and that's -- so, obviously, I was back further            22      Q. You can't?
23 than his car.                                              23      A. I don't think I'm understanding exactly
24 BY MR. BROOKS:                                             24 what you're --
                                             PLANET DEPOS
                                888.433.3767 | WWW.PLANETDEPOS.COM
    Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 8 of 39 PageID #:921
                                     EXHIBIT E
                                       Transcript of Deputy Rollie Elder                              7 (25 to 28)

                                       Conducted on November 19, 2019
                                                        25                                                       27
1      Q. Well, would you agree that your                    1 of Mr. Edwards' white Cadillac at the time that
2 vehicle's recording device captures a portion of           2 muzzle sight you described takes place.
3 the shooting?                                              3           Do you agree with my assessment?
4      A. I thought it did.                                  4      A. I think so.
5      Q. Tell me what it shows, what you think              5      Q. Would you also agree that the person in
6 it shows.                                                  6 the image when you see like as we describe a muzzle
7      A. Well, at one point I thought that I saw            7 flash, that person is on the passenger side of the
8 a muzzle flash as I was arriving on scene and              8 white Cadillac?
9 that's -- but watching the video, it's pretty              9      A. Actually, when I watched the video last
10 grainy. I can't tell exactly what it shows in the         10 night, I misinterpreted something, and it was
11 video trying to review it.                                11 pointed out to me.
12     Q. Do you know why your video is much more            12          MR. JACOBI: Hold on. Don't testify
13 grainy as opposed to Coutts' video?                       13 about any conversations that you and I had or that
14     A. I have no idea. There could be                     14 we had in that room with my presence. Do you
15 multiple reasons why. It could be dirty                   15 understand?
16 windshield; it could be age of camera; it could           16          THE WITNESS: Okay.
17 be -- there could be lots of reasons. I'm doing           17          MR. BROOKS: Can I have my question
18 the best that I can to answer your question, but I        18 read back? I don't want to know what your lawyer
19 don't really have an explanation for that.                19 told you and all that.
20     Q. Not a problem. When you say your video             20          MR. JACOBI: Just testify about what
21 captures what you believe to be the sight of a            21 you saw on the video. Do you understand?
22 muzzle firing, right?                                     22          THE WITNESS: Okay.
23          MR. JACOBI: Objection. Form.                     23          (Requested portion of the record read
24 BY MR. BROOKS:                                            24 back.)
                                                        26                                                       28
1       Q. Is that right?                                    1       A. Yes.
2       A. I think it does.                                  2 BY MR. BROOKS:
3       Q. You believe the video captures at least           3       Q. All right. When someone fires a
4 that image of what you can see that appears to be a        4 weapon, such as the weapon that was used by Officer
5 gun firing, correct?                                       5 Cater, when that weapon is fired, does it as a
6            MR. JACOBI: Form. Mischaracterizes.             6 matter of course, assuming the same time of the
7 Go ahead.                                                  7 evening as we have in this particular case, that
8       A. I believe so, yes.                                8 you will see a muzzle flash?
9 BY MR. BROOKS:                                             9       A. Yes, sir.
10      Q. When you see what you believe to be the           10      Q. If the weapon is fired more than once,
11 firing of a weapon, do you see an image of the            11 is it discernible from the flash that the gun is
12 person firing that weapon?                                12 being fired more than once?
13           MR. JACOBI: On the video?                       13      A. Very good possibility.
14           MR. BROOKS: Yes.                                14      Q. When you saw what you believe to be a
15      A. I don't recall if I do. It's very hard            15 muzzle flash in the video, did it appear that the
16 to make out because of the distance.                      16 flash occurred more than once?
17 BY MR. BROOKS:                                            17      A. I couldn't tell that.
18      Q. You do see what appears to be an image            18      Q. If the weapon is fired more than once,
19 of  at least a person; would you agree with that?         19 will  it be a sequence of muzzle flashes?
20      A. I believe so, but now you have me                 20            MR. JACOBI: Foundation.
21 second guessing myself. I'll be honest with you.          21            MS. OSTVIG: I'll join.
22      Q. All right. I looked very close at the             22      A.     Yes.
23 video from your car. It appears that you can see          23 BY MR. BROOKS:
24 an image of a person that's on the passenger side         24      Q. At some point when the -- by the way,
                                             PLANET DEPOS
                                888.433.3767 | WWW.PLANETDEPOS.COM
    Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 9 of 39 PageID #:922
                                     EXHIBIT E
                                      Transcript of Deputy Rollie Elder                             8 (29 to 32)

                                      Conducted on November 19, 2019
                                                      29                                                       31
1 how many shots did you hear?                             1      Q. Have you spoken to any defense lawyers
2      A. I didn't hear any, I don't believe.              2 that are involved in this particular case,
3      Q. When you noticed the muzzle flash, did           3 obviously including your lawyer, who's here with
4 you notice that on the night of the shooting?            4 you today?
5      A. As I was pulling up to the scene, I              5      A. No, sir.
6 thought that I saw a muzzle flash.                       6           MS. OSTVIG: He's talking about me.
7      Q. You saw the muzzle flash, but you                7           MR. BROOKS: Or their office.
8 didn't hear what you believe to be was a gunshot?        8      A. I don't know who her office is.
9      A. I don't recall if I heard it or not.             9 BY MR. BROOKS:
10     Q. Were your windows up?                            10     Q. Schain, Banks, none of that rings a
11     A. I don't recall.                                  11 bell to you?
12     Q. The dog was in the vehicle?                      12     A. No.
13     A. Yes, sir.                                        13     Q. Lawyers from Chicago?
14     Q. Did the dog react at all during the              14     A. I usually try to avoid them, sir.
15 course of the muzzle flash?                             15     Q. So when you pull up behind Deputy
16     A. I wasn't paying attention to him. I              16 Coutts' car, walk me through your actions.
17 couldn't  tell you.                                     17     A. Okay. As I'm pulling up to the scene,
18     Q. By the time that you pulled up to the            18 I thought that I saw a muzzle flash. Within a very
19 scene where the white Cadillac was located, were        19 short amount of time, and I mean seconds after I
20 you aware at that particular time that shots had        20 thought that I saw a muzzle flash, I heard over the
21 been fired?                                             21 radio shots fired; however, I don't know who
22     A. I heard it over the radio traffic call           22 transmitted that.
23 as I was pulling up.                                    23          I pull up to the scene, I get out of my
24     Q. Who made that communication, if you              24 squad car, I see Officer Cater standing along the
                                                      30                                                       32
1 know?                                                    1 driveway, Officer Coutts standing along the
2      A. I don't know.                                    2 driveway or in the yard closer to the house, and
3      Q. Have you listened to any dispatch                3 two other Rock Falls officers one of them being
4 communications?                                          4 Sugars and I do not recall the name of the other
5      A. Just what we had on the video.                   5 Rock Falls officers who were there over towards the
6      Q. When you say what you had on the video,          6 rear of the vehicle, but on the driver's side from
7 you're saying the dash cam videos that you               7 what I recall.
8 reviewed?                                                8           Walked up, asked John if he was okay,
9      A. The audio from Sean's video I could              9 Sean if he was okay. Obviously, shots fired, first
10 hear that.                                              10 thing I do is assess the guys on scene. Somebody,
11     Q. Have you listened to dispatch                    11 and I can't tell you who it was, told me that John
12 communication independent of the video recordings?      12 was the officer that fired his weapon at the driver
13     A. No, sir.                                         13 of the vehicle.
14     Q. Now you told me that you're a chief              14     Q. Let me stop you there.
15 right now?                                              15     A. Yes, sir.
16     A. Yes, sir.                                        16     Q. You learned that fact that Cater had
17     Q. Chief Elder, have you prepared any               17 fired his weapon shortly after you were parked at
18 reports beyond the statement in connection with the     18 the address where the Cadillac was parked, correct?
19 shooting of Nathaniel Edwards?                          19     A. Yes, sir.
20     A. No, sir.                                         20     Q. You just don't know who provided you
21     Q. Have you reviewed any reports, written           21 that information?
22 documents,  beyond your statement in connection with    22     A. I hate to say definitively because I
23 the shooting of Nathaniel Edwards?                      23 could be wrong, but I believe it was Sean that told
24     A. No, sir.                                         24 me that Cater just shot the guy in the car.
                                            PLANET DEPOS
                               888.433.3767 | WWW.PLANETDEPOS.COM
   Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 10 of 39 PageID #:923
                                    EXHIBIT E
                                     Transcript of Deputy Rollie Elder                          9 (33 to 36)

                                     Conducted on November 19, 2019
                                                  33                                                       35
1      Q. Did Cater ever confirm that for you            1      Q. Did you and Officer Cater maintain
2 while you were at the scene?                           2 contact after high school?
3      A. Yes.                                           3      A. No, sir.
4      Q. How did he do that?                            4      Q. When did you renew some acquaintance
5      A. I don't remember the exact verbiage of         5 with Officer Cater?
6 the conversation, but yes, he did acknowledge that     6      A. It would have been after I got into law
7 he was the one that did the shooting. Yes, sir.        7 enforcement.
8      Q. Did Cater acknowledge that he had done         8      Q. Which would have been 2006?
9 the shooting before Mr. Edwards was removed from       9      A. Well, actually, 2009 is when I went on
10 his vehicle?                                          10 patrol, so it would have been after that.
11     A. Yes, sir.                                      11     Q. Was it specifically with a department
12     Q. Can you -- when Cater made you aware of        12 that you both were a part of or was it something
13 the fact that he had fired his weapon, were any       13 different than that?
14 other officers present for that conversation?         14     A. It was just he was an officer for the
15     A. Well, there was the five of us total           15 city of Rock Falls, and I was a deputy for the
16 standing within proximity of an area probably the     16 sheriff's office, so we would see each other in
17 size of this room. Think of a driveway parked with    17 passing.
18 a vehicle.                                            18     Q. Do you consider yourself to be friends
19          So there would have been Sean,               19 outside of the context of your professional
20 obviously, Officer Cater, myself, Officer Sugars,     20 responsibilities?
21 and then the new officer that was there in            21     A. I would say acquaintances. We have
22 training, and I can't remember his name.              22 never conversed, never gone to a cookout together,
23     Q. Officer Riley, Ethan?                          23 never hung out together. When I am not working, I
24     A. You're going to have to tell me if             24 spend most of my time in the woods or water with my
                                                  34                                                       36
1 that's who was there.                                  1 dogs. My circle is very small.
2      Q. You didn't know that particular                2      Q. When you learned that it was Cater who
3  officer?                                              3  fired his weapon, did Cater provide you any
4      A. No, sir.                                       4 information concerning why he fired his weapon?
5      Q. You knew Officer Cater prior to this           5      A. I'm not sure if it was John or Sean,
6 shooting incident?                                     6 but somebody made indication to me that the driver
7      A. Yes, sir.                                      7 of the vehicle tried to run John over, and that's
8      Q. How is it that you knew him?                   8 why he shot him.
9      A. Actually, although we weren't friends          9      Q. Did you ever see the white Cadillac
10 or associates, John and I graduated high school the   10 moving in reverse at a fast speed?
11 same year in Rock Falls.                              11     A. No, sir, I did not notice that.
12     Q. You attended the same high school?             12     Q. Can you give us a sense of how long
13     A. Yes, sir.                                      13 Mr. Edwards would have been seated in his car after
14     Q. What high school was that?                     14 he had been shot and before he was removed from the
15     A. Rock Falls High School.                        15 car?
16     Q. I know that was only a few years ago,          16     A. It would be speculation.
17 but can you give me the year?                         17     Q. Give me your best.
18     A. 1993 we graduated.                             18          MR. JACOBI: Object as to foundation.
19     Q. By the way, do you have any military           19     A.    I would say within a minute or two we
20 experience?                                           20 probably had him out of the vehicle.
21     A. No, sir.                                       21 BY MR. BROOKS:
22     Q. You went from high school to the               22     Q. You assisted in removing Mr. Edwards
23 construction trade, is that it?                       23 from the vehicle?
24     A. Yes, sir.                                      24     A. Yes, sir.
                                           PLANET DEPOS
                              888.433.3767 | WWW.PLANETDEPOS.COM
   Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 11 of 39 PageID #:924
                                    EXHIBIT E
                                       Transcript of Deputy Rollie Elder                              10 (37 to 40)

                                       Conducted on November 19, 2019
                                                        37                                                       39
1      Q. Did you have any involvement in either             1 get in.
2 stopping -- do you know how it is Mr. Edwards'             2      Q. Who determined that you would assist in
3 vehicle came to a stop?                                    3 removing Mr. Edwards from the car?
4      A. I do not.                                          4      A. I did.
5      Q. Do you know what gear Mr. Edwards' car             5      Q. Tell me how all of that was
6 was in when it came to a stop?                             6 communicated among the group of people.
7            MS. OSTVIG: Can we just clarify when            7      A. Well, once I was sure that everybody
8 in the process. I'm not sure that I'm                      8 was okay, I knew we had a subject in the vehicle
9 understanding the timeline. So like when you say           9 that had been shot. And you go from enforcing the
10 when the vehicle came to a stop --                        10 law, protecting people, to helping people.
11           MR. BROOKS: Well, you could clean it            11         My main priority at that time, once I
12 up, Counsel. I don't have a problem with that.            12 got there, saw that the officers were okay, my main
13 BY MR. BROOKS:                                            13 priority was to provide first aid to the gentleman
14     Q. If you don't understand my question,               14 in the driver's seat of that vehicle.
15 just let me know. I'll restate and/or rephrase it.        15     Q. You were assisted in removing
16     A. You're going to have to restate it now.            16 Mr. Edwards from the car?
17     Q. Do you know how Mr. Edwards' vehicle               17     A. Yes, sir.
18 came to a stop after he was shot?                         18     Q. Who assisted you?
19     A. No, sir.                                           19     A. Officer Sugars.
20     Q. Did you at any point touch or handle               20     Q. Did you ask Officer Sugars to help you?
21 the gears in Mr. Edwards' vehicle?                        21     A. I don't believe I definitively asked
22     A. That particular part is cloudy for me,             22 him to help me; however, once I made the
23 sir. I can tell you exactly what I did when I got         23 determination we were getting this gentleman out of
24 into the vehicle.                                         24 the car, I ordered or told Deputy Coutts to run to
                                                        38                                                       40
1      Q. Tell me what you did.                              1 his squad car and grab his AED. Also, the officer
2      A. I got -- because of the driver's door              2 for Rock Falls, I believe you told me it was Ethan
3  being  locked, I was able to get in through the           3 Riley, he also went to his squad car to grab
4 passenger door. I climbed in the passenger door,           4 whatever first aid kit or AED they had.
5 reached across the center console and shut the             5           Officer Sugars and I took Mr. Edwards
6 vehicle off. I shut the ignition off. I can't              6 out of the vehicle, and I can't remember if I told
7 remember if the vehicle was already in park or if I        7 him or if he stood back, but I thought at that
8 put it in park to do that.                                 8 point with Officer Cater being the gentleman that
9      Q. You don't have any specific                        9 shot Mr. Edwards, that it was best for him to be
10 recollection of putting the vehicle in park,              10 isolated and away from the situation at that point
11 though?                                                   11 and let us provide the medical first aid to
12     A. That's correct, sir. I do not.                     12 Mr. Edwards.
13     Q. You do have specific recollection of               13     Q. So you may have directed Cater to stand
14 turning the key to shut the engine off?                   14 back from the scene?
15     A. Yes, sir.                                          15     A. I believe I just kind of took over the
16     Q. You said the passenger's side door was             16 first aid.
17 in a state where you could open it?                       17     Q. Chief, have you within the law
18     A. I got in through the passenger door,               18 enforcement field heard of the term business
19 yes.                                                      19 officer when it relates to police activities?
20     Q. Does that mean that you simply pulled              20     A. No, sir.
21 the latch and opened the door?                            21     Q. When you have a circumstance where
22     A. I believe so, yes. I believe I got                 22 police are interacting with a citizen and there are
23 into the passenger door; however, the driver's door       23 multiple officers present, is it a fairly routine
24 I think had to be -- the window had to be broken to       24 procedure that one officer will take the lead in
                                             PLANET DEPOS
                                888.433.3767 | WWW.PLANETDEPOS.COM
   Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 12 of 39 PageID #:925
                                    EXHIBIT E
                                     Transcript of Deputy Rollie Elder                           11 (41 to 44)

                                     Conducted on November 19, 2019
                                                   41                                                       43
1 terms of communicating with that citizen?              1 Unfortunately, and I hate to use this comparison,
2      A. Normally, yes, sir.                            2 but I'm an active -- avid hunter and sometimes
3      Q. Why is that?                                   3 after an animal has been shot, even though they are
4      A. I don't think I quite understand.              4 dead, there is still some movement going on.
5      Q. Well, I'm trying to understand when            5          I'm not a qualified medical expert. I
6 police are interacting with a citizen, whether it's    6 can't tell you on whether or not he was alive. My
7 a traffic stop or street stop, and you have            7 gut told me he probably wasn't, but we were going
8 multiple officers, customarily, you'll see one         8 to do the best thing that we could to see to it
9 officer take the lead in terms of communicating        9 that if there was a chance, we were going to bring
10 with that citizen, right?                             10 him back alive.
11     A. Yes, sir.                                      11 BY MR. BROOKS:
12     Q. Why is that done as opposed to having          12     Q. You said your gut told you that he was
13 multiple officers giving directions and/or orders     13 probably not alive, though, right?
14 to the individual?                                    14     A. Correct.
15     A. Well, I believe if you're trying to            15     Q. Could you tell whether or not he was
16 generalize that, I believe it will keep the person    16 breathing when he was inside the car?
17 from being confused because if there are multiple     17     A. I could not.
18 people barking orders, those orders are going to be   18     Q. You weren't close enough to determine
19 different, and unfortunately, the citizen or          19 that?
20 suspect or whoever is going to do something wrong     20     A. Actually, I was within inches of him,
21 because he's getting multiple orders.                 21 but my main focus was getting him out of the car
22     Q. All right. So from your perspective,           22 and rendering first aid.
23 good police practice would follow a procedure         23     Q. Could you tell whether or not his eyes
24 whereby when you have multiple officers interacting   24 were open when he was inside the car after you
                                                   42                                                       44
1 with the citizens, whether traffic stop or street      1 opened the door?
2 stop, one officer is going to take the lead as far     2       A. I don't remember looking him in the
3 as communicating with that citizen?                    3  eye,  sir.
4      A. Generally, yes, sir.                           4       Q. After you had removed Mr. Edwards from
5      Q. Fair enough. When you open the                 5 the car, you placed him on the ground?
6 passenger side door and you can see Mr. Edwards in     6       A. Yes, sir.
7 the car, do you notice whether or not he's             7       Q. And tell me what happens at that point,
8 bleeding?                                              8 you now have Mr. Edwards on the ground.
9      A. What I noticed were his hands were up          9       A. I laid him -- we placed him on the
10 about like this, and I'm raising my hands,            10 ground. He was on the driveway on the driver's
11 obviously, about mid waist level, and then they       11 side of the vehicle towards the back of the
12 fell.                                                 12 vehicle.
13     Q. You saw some movement by Mr. Edwards in        13            And I felt for a pulse. At a time I
14 the car?                                              14 thought that I felt a pulse, but then I couldn't
15     A. Yes, sir.                                      15 feel a pulse. Once I thought that he was
16     Q. Did you hear any noise coming from             16 breathing, but he wasn't breathing. I determined
17 Mr. Edwards?                                          17 that I didn't have a pulse. I didn't have breaths,
18     A. No, sir.                                       18 and I started administering CPR as the other
19     Q. Fair to say, though, when you saw him          19 officers were grabbing the AEDs.
20 inside the car and his arms were raised somewhere     20      Q. At some point, based on what you're
21 near his abdominal area, he was still alive?          21 telling me, you thought when Mr. Edwards was on the
22          MS. OSTVIG: Objection. Speculation.          22 ground he was breathing, right?
23 Foundation.                                           23      A. At one time I thought that I did, yes,
24     A. That would be speculation.                     24 sir.
                                           PLANET DEPOS
                              888.433.3767 | WWW.PLANETDEPOS.COM
   Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 13 of 39 PageID #:926
                                    EXHIBIT E
                                     Transcript of Deputy Rollie Elder                             12 (45 to 48)

                                     Conducted on November 19, 2019
                                                  45                                                              47
1      Q. What did you see in Mr. Edwards that           1      A. No, sir.
2 led you to believe that he was breathing while he      2      Q. Do you know whether or not the
3 was on the ground?                                     3 paramedics were able to establish a heart beat in
4      A. I thought that I heard gurgling.               4 Mr. Edwards from his removal to the scene to his
5      Q. Is there any reason to think today that        5 arrival at the hospital?
6 it was not gurgling?                                   6      A. I have no idea.
7      A. I don't know. I can't give that                7      Q. Did you know any of the paramedics?
8 determination.                                         8      A. I couldn't tell you who responded there
9      Q. You said at some point you thought that        9 now. Just that we see a lot of paramedics on
10 you had a pulse when Mr. Edwards was on the ground,   10 different calls, but as far as personally knowing
11 correct?                                              11 them, I don't know, sir.
12     A. Yes, sir.                                      12     Q. In your current position as a chief is
13     Q. What signs indicated to you that               13 one of your responsibilities to either assess or
14 Mr.  Edwards had a pulse?                             14 make some review of incidents involving your
15     A. Well, I was checking along his corroded        15 officers where they use deadly force?
16 artery trying to feel a pulse. I believe what I       16     A. It would be, yes, sir.
17 was feeling was my own pulse at that time,            17     Q. Prior to your employment with the
18 unfortunately.                                        18 Village of Erie, were you in a position, law
19     Q. Do you still feel that way today?              19 enforcement position, where you would assess or
20     A. Yes.                                           20 review use of force by officers in your department?
21     Q. When the AED was used, at some point           21     A. No, sir.
22 did you get what you believe to be was a pulse?       22     Q. In terms of your current position with
23     A. The AED, I'm going to have to go into          23 the Village of Erie, your assessment of the use of
24 my training what the AED does.                        24 force by officers in the department, that's just
                                                  46                                                              48
1           So the AED, if you have an irregular         1 one of your roles with your current department, I
2 heart beat, the AED will sense that, it will advise    2 take it?
3 a shock, and attempt to put the heart back into        3      A. Yes, sir.
4 rhythm. If there is no rhythm, it will tell you to     4      Q. Do you have the final say in terms of
5 continue with CPR.                                     5 whether or not the force used is consistent with
6           And we continually got that response         6 your department's policy?
7 from the AED to continue with CPR. We thought we       7           MR. JACOBI: Foundation. Go ahead.
8 were -- at times we thought we were -- the heart       8      A. Well, yes and no.
9 was beating because on the AED, if I remember          9 BY MR. BROOKS:
10 right, there was a -- you could almost see a          10     Q. Explain that.
11 digital scale of a heartbeat.                         11     A. So we're a very small department, and
12          What it was was -- we assume what it         12 if I have an officer involved use of force that is
13 was was, as we would administer CPR and try to get    13 considerable magnitude, let's say the person that
14 the heart beating, the AED was picking up our chest   14 the force was used on sustained some type of injury
15 compressions.                                         15 that caused hospitalization, would -- what I would
16     Q. Do you know that to be true that the           16 do to keep transparency, which I have done, is I
17 AED was picking up the officer's heart as opposed     17 would contact the Illinois State Police, and I
18 to Mr. Edwards' heart beat?                           18 would ask them to investigate my officer and the
19     A. That's what we assumed. Once again, I          19 situation and then take their case in front of the
20 don't believe I'm qualified to give that, but         20 Whiteside County State's Attorney's office to see
21 that's what I thought. Yes, sir.                      21 if any charges would be warranted on that officer.
22     Q. Fair enough. When the paramedics               22          And then based off of that, then we
23 arrive, was it your impression at that particular     23 would make a final determination, obviously. But
24 time Mr. Edwards had a heartbeat?                     24 to keep transparency, I would always go with an
                                           PLANET DEPOS
                              888.433.3767 | WWW.PLANETDEPOS.COM
   Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 14 of 39 PageID #:927
                                    EXHIBIT E
                                     Transcript of Deputy Rollie Elder                            13 (49 to 52)

                                     Conducted on November 19, 2019
                                                   49                                                         51
1 outside source, just to keep everything clear to      1 department itself does an internal investigation?
2 the general public, I guess.                          2     A. I'm sure they would, sir, yes, sir.
3      Q. But at some point in your current             3     Q. Did you see any actions on the part of
4 position you would make some internal assessment in   4 Nathaniel Edwards in January of 2018 from your
5 terms of whether or not the force was consistent      5 observation which would justify the use of deadly
6 with the department's policy?                         6 force?
7      A. Yes, sir.                                     7     A. I did not -- I was not there for the
8      Q. Do you know if, relative to the               8 shooting, so I didn't see anything prior to that,
9 shooting of Nathaniel Edwards, if Rock Falls made     9 no, sir.
10 some assessment in terms of whether or not Cater's   10    Q. Based on what you did see and the
11 use of force was consistent with the department      11 images  captured on your dash cam, did you witness,
12 policy?                                              12 from your perspective, any actions on the part of
13     A. I have no idea what any of their              13 Mr. Edwards which would justify using lethal,
14 findings  are. I'm just not privy to that            14 deadly force?
15 information.                                         15    A. I didn't witness anything.
16     Q. Is it your understanding, relative to         16          MR. BROOKS: I don't think I have any
17 Rock  Falls, that that department itself has an      17 other questions.
18 internal procedure where it investigates             18          MS. OSTVIG: I just have a couple.
19 officer-involved shootings?                          19
20     A. Once again, I couldn't give you the           20              EXAMINATION
21 answer to that. I do not know what their policy      21 BY MS. OSTVIG:
22 is.                                                  22    Q. With regard to counsel's question with
23     Q. Does Whiteside County have an internal        23 regard to the actions of Mr. Edwards, is it fair to
24 procedure where the department investigates          24 say that you can't make that assessment because you
                                                   50                                                         52
1 officer-involved shootings?                           1 were not on the scene when the shooting took place?
2           MR. JACOBI: Foundation.                     2      A. That's correct.
3      A.     From my employment at Whiteside County,   3      Q. And is it fair to say that you were not
4 I have always understood it as if we are involved     4 on the scene or that you didn't follow Mr. Edwards
5 in an officer-involved shooting, that it would be     5 or were involved in any part of the pursuit and up
6 the Illinois State Police that would investigate      6 to the time that he parked at the residence; is
7 that.                                                 7 that correct?
8      Q. Beyond the involvement of the Illinois        8      A. Yes, ma'am.
9 State Police, do you know whether or not Whiteside    9      Q. So the first time you're coming onto
10 County, at least when you were employed, had in      10 the scene is when you see that muzzle flash; is
11 place an internal procedure to investigate an        11 that correct?
12 officer's use of deadly force beyond the             12     A. Yes.
13 involvement of the Illinois State Police?            13     Q. So because you hadn't been a part of
14          MS. OSTVIG: I'm going to say asked and      14 the pursuit or had any information with regard to
15 answered.                                            15 the pursuit and the actions of Mr. Edwards, you
16 BY MR. BROOKS:                                       16 cannot make an assessment as to the force used; is
17     Q. You can answer.                               17 that correct?
18     A. What I understood through my employment       18          MR. BROOKS: Objection. Form.
19 is the situation would be investigated by the        19     A.    That's correct, ma'am.
20 Illinois State Police, but then any internal         20 BY MS. OSTVIG:
21 decision by Chief Deputy and Sheriff.                21     Q. And would that also be true with regard
22     Q. So in other words, you're saying as far       22 to whether  or not -- I think that you were asked as
23 as Whiteside County is concerned, beyond the         23 to whether or not Sergeant Cater fired the shots
24 involvement of the Illinois State Police, the        24 and I think that you answered that you didn't see
                                            PLANET DEPOS
                               888.433.3767 | WWW.PLANETDEPOS.COM
   Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 15 of 39 PageID #:928
                                    EXHIBIT E
                                       Transcript of Deputy Rollie Elder                              14 (53 to 56)

                                       Conducted on November 19, 2019
                                                        53                                                       55
1 who fired. Would that be the same thing because            1 It would be hard to start classifying all of them,
2 you were not on the scene at the time that the             2 but there would be times. I know when we serve
3 shots were fired?                                          3 search warrants, as you approach the house or we
4            MR. BROOKS: Objection. Form.                    4 come across people, several officers yell put your
5 Misstates his testimony.                                   5 hands up or something along that basis. I guess if
6 BY MS. OSTVIG:                                             6 I could generalize something.
7      Q. I'm sorry. I'm sorry. I guess my                   7      Q. Would it be appropriate for multiple
8 question is: I think that you testified -- is it           8 officers to give orders if someone refuses to get
9 fair to say that when you arrived on the scene, you        9 out of a car?
10 did not know who the officer was who created that         10     A. At times.
11 muzzle flash or fired the shot?                           11     Q. Would it be appropriate if it -- for
12     A. That's correct.                                    12 multiple officers to give orders if it appears that
13     Q. And that's because you hadn't been part            13 a suspect is putting their car in reverse in order
14 of the pursuit or anything leading up to the              14 to use that car as a weapon?
15 officer firing; is that correct?                          15          MR. BROOKS: Objection. Form.
16           MR. BROOKS: Objection. Form.                    16 Foundation.
17     A.     Correct.                                       17     A. Yes, ma'am.
18 BY MS. OSTVIG:                                            18 BY MS. OSTVIG:
19     Q. All right. Counsel asked you about                 19     Q. You testified that you thought
20 the -- whether or not you put Mr. Edwards' car in         20 Mr. Edwards was breathing, and you heard gurgling,
21 gear. Do you remember that line of questioning?           21 why did your opinion change that you then believed
22     A. Yes, ma'am.                                        22 that he was not breathing at that point?
23     Q. And is it true that you may have put               23     A. Are you talking about in the vehicle or
24 the car in gear or you may not have put the car in        24 on the ground?
                                                        54                                                       56
1 gear, you just don't know?                                 1      Q. On the ground. I think it was on the
2             MR. BROOKS: Objection. Form.                   2 ground you talked about gurgling and that you heard
3  Compound.                                                 3 it, and that's why you thought he was potentially
4       A. I do not know.                                    4 breathing. Do you remember that testimony?
5 BY MS. OSTVIG:                                             5           So I'm just wondering you said that you
6       Q. So you don't know if you put the car in           6 thought he was breathing because of the gurgling,
7 gear?                                                      7 but then you determined that he was not breathing,
8       A. Correct.                                          8 so how did you make that determination, I'm
9       Q. And you don't know if you hadn't done             9 wondering?
10 it, if it was already in gear when you got in the         10     A. Just by looking at him, not seeing the
11 car?                                                      11 chest rise.
12      A. And when you say gear, I'm assuming put           12     Q. So is it your opinion from what you
13 the vehicle in park?                                      13 observed of Mr. Edwards while he was on the ground
14      Q. Yes.                                              14 that he was not breathing at that point?
15      A. That's correct.                                   15     A. Yes, ma'am.
16      Q. You just don't know either way?                   16     Q. Just to clarify, the AED, was it
17      A. Correct.                                          17 attached to Mr. Edwards when you guys were -- when
18      Q. And counsel was talking to you about              18 you and Officer Coutts, you were both administering
19 this  business officer, and you said generally one        19 the CPR; is that correct?
20 officer gives orders, and he said in a traffic stop       20     A. Yes.
21 or when you're stopping a citizen on the street.          21     Q. Was the AED attached to him at that
22            When would it be appropriate for               22 point?
23 multiple officers to give orders to a suspect?            23     A. We administered CPR, there was a short
24      A. During a critical situation, obviously.           24 pause as we took his shirt off him or opened up the
                                             PLANET DEPOS
                                888.433.3767 | WWW.PLANETDEPOS.COM
   Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 16 of 39 PageID #:929
                                    EXHIBIT E
                                      Transcript of Deputy Rollie Elder                             15 (57 to 60)

                                      Conducted on November 19, 2019
                                                     57                                                        59
1 front of his shirt to apply the patch for the AED,       1 would be my job to attempt to locate him.
2 did the initial -- started the AED to do the             2      Q. Do you know if other officers who were
3 assessment, and then continued the CPR. So as we         3 involved in this stoppage, let's say, of
4 continued CPR, the pads were attached to him at          4 Mr. Edwards, knew that your car was also going to
5 that time, yes, ma'am.                                   5 be present at some point?
6     Q. So when you testified that the AED was            6            MR. JACOBI: Foundation.
7 picking up the heartbeat, it was the compressions        7      A. I don't recall if they knew I was
8 of the CPR; is that correct?                             8 coming or not.
9     A. Yes, ma'am.                                       9 BY MR. BROOKS:
10    Q. It wasn't your heartbeat that the AED             10     Q. All right. Did you communicate in some
11 was  picking up?                                        11 fashion  that you were participating?
12    A. No, ma'am.                                        12     A. I advised -- over hearing the radio
13    Q. Or Officer Coutts' heartbeat it was               13 traffic that Rock Falls was involved in a pursuit,
14 picking up; is that correct?                            14 I notified the Whiteside County dispatch center
15    A. No, ma'am.                                        15 that I was going to be en route to their location
16    Q. All right.                                        16 that they were involved in a pursuit of some sort.
17          MS. OSTVIG: I think those are all the          17     Q. And you described it as slow speed
18 questions that I have.                                  18 pursuit?
19                                                         19     A. I'm not sure if I used that
20              EXAMINATION                                20 terminology, but that's what I determined due to
21 BY MR. BROOKS:                                          21 the radio traffic from Rock Falls.
22    Q. I just have a few questions. At some              22     Q. When you communicated with the
23 point during this scenario you heard a                  23 dispatcher, do other officers beyond Whiteside
24 communication from your sergeant to the effect          24 County also hear that communication?
                                                     58                                                        60
1 telling you and any Whiteside County officer to,         1      A. They should if their radio was scanning
2 for lack of a better word, do not get involved,          2 our frequency, they should hear it.
3 right?                                                   3      Q. It's my understanding that these
4      A. Yes, sir.                                        4 jurisdictions are so intertwined. I'm talking
5      Q. What was the nature of that                      5 about Whiteside County, Sterling, and Rock Falls.
6 communication?                                           6 That when certain communications are made through
7      A. Let me just make sure I'm getting the            7 the dispatcher, each of those jurisdictions
8 question right. I guess I'll just give you our           8 potentially can hear that information?
9 interpretation of the radio traffic.                     9      A. They should as long as they got the
10     Q. That's fine.                                     10 radio on scan.
11     A. So as I'm en route to the reported               11     Q. Under what circumstance would an
12 area, Sergeant Schmidt asked me, because we knew        12 officer who's patrolling not have their radio on
13 there was -- Rock Falls was involved in a pursuit;      13 scan?
14 however, I heard it was a slow speed pursuit. He        14          MR. JACOBI: Foundation. Form.
15 asked me what the reason for the pursuit was.           15          MS. OSTVIG: Speculation.
16          And from what I knew at that time, it          16 BY   MR.  BROOKS:
17 was just a vehicle failing to yield. So we              17     Q. You can still answer.
18 generally do not get involved in pursuits unless        18     A. And it is speculation.
19 it's forceable felony or that person in the vehicle     19     Q. All right.
20 is inherent danger to the motoring public.              20     A. In every trade, no matter what that
21          However, we will get to the area. Of           21 trade is, there is some people that do their due
22 course  me  being a canine handler, I will try to get   22 diligence and some that don't. I personally always
23 to the area of the pursuit, not actively engage,        23 keep my radio on scan because I want to be able to
24 but if that suspect would flee the vehicle, then it     24 provide aid to the surrounding agencies if they
                                            PLANET DEPOS
                               888.433.3767 | WWW.PLANETDEPOS.COM
   Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 17 of 39 PageID #:930
                                    EXHIBIT E
                                      Transcript of Deputy Rollie Elder                          16 (61 to 64)

                                      Conducted on November 19, 2019
                                                    61                                                         63
1 will ever need it.                                     1 is worried about liability.
2            Some officers probably don't want to        2 BY MR. BROOKS:
3 hear what's going on in other jurisdictions so that    3      Q. All right. Do you know whether or not
4 would cause that officer to take his radio off         4 Rock Falls has a similar policy that prohibits,
5 scan. However, I can't speak for anybody else          5 generally, officers from pursuing a vehicle for a
6 outside the man in my boots.                           6 minor traffic violation?
7      Q. Very good. So you would agree it's             7      A. I do not know what their policy is,
8 probably good police practice if you work within       8 sir.
9 the Whiteside County Sterling/Rock Falls area that     9           MR. BROOKS: I think that's it. I
10 you have your radio on scan?                          10 don't have any other questions.
11           MR. JACOBI: Form. Foundation.               11          MS. OSTVIG: I just have one question.
12           MS. OSTVIG: Objection. Speculation.         12
13     A. I would agree they should.                     13              EXAMINATION
14 BY MR. BROOKS:                                        14 BY  MS.  OSTVIG:
15     Q. All right. Let me also ask you this:           15     Q. Do you believe that you disobeyed your
16 If an officer communicates to a motorist who's        16 supervisor's orders when you came upon the scene
17 seated in a stopped vehicle words to the effect,      17 and helped with removing Mr. Edwards from the
18 don't back up, referring to the car, don't back it    18 vehicle?
19 up, would that give you some indication that the      19     A. Absolutely not.
20 officer is sensing that the driver may back up the    20     Q. Do you believe you disobeyed your
21 vehicle?                                              21 supervisor's orders when you administered CPR on
22           MR. JACOBI: Foundation. Form.               22 Mr. Edwards on the scene?
23           MS. OSTVIG: Speculation.                    23     A. Absolutely not.
24     A. That would be speculation on my part.          24     Q. Why not?
                                                    62                                                         64
1 I just don't really know how to give you a             1            MR. JACOBI: Form.
2 definitive answer to that. I apologize.                2 BY MS. OSTVIG:
3 BY MR. BROOKS:                                         3       Q. Why do you believe that you didn't
4      Q. You will agree with me, though, if an          4 disobey your supervisor's orders in helping remove
5 officer gives a statement to that effect to a          5 Mr. Edwards from the car?
6 motorist who's seated in a running car words to the    6       A. The only information that I got from my
7 effect, do not back the car up or do not back it       7 supervisor was not to get directly involved in a
8 up, that the officer has formed some impression        8 pursuit, if it was a minor traffic violation.
9 that this motorist may back the car up?                9 However, I didn't get involved in the pursuit part
10          MR. JACOBI: Form. Foundation. Asked          10 of it. I did, however, get involved,
11 and answered.                                         11 unfortunately, in a situation where an officer shot
12          MS. OSTVIG: Joined. Asked and                12 somebody.
13 answered. Speculation.                                13           My part in that was to administer the
14     A. That would be up to interpretation.            14 first aid. I knew that I had a guy that had been
15 BY MR. BROOKS:                                        15 shot. And no matter what the reasoning was behind
16     Q. All right. Were you ever involved in           16 it, it's unfortunate, and I was going to do my best
17 the slow speed pursuit of Mr. Edwards?                17 to try to help, even if there is a slim chance of
18     A. No, sir.                                       18 help, I'm going to provide that help.
19     Q. Can you tell us, as far as Whiteside           19           And that's my only explanation for
20 County is concerned, why it is communicated to        20 that, I guess.
21 officers that they are not to pursue a vehicle for    21           MS. OSTVIG: That's fine.
22 minor traffic violations?                             22
23          MR. JACOBI: Form. Foundation.                23               EXAMINATION
24     A. From what I understand, administration         24 BY MR. BROOKS:
                                            PLANET DEPOS
                               888.433.3767 | WWW.PLANETDEPOS.COM
      Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 18 of 39 PageID #:931
                                       EXHIBIT E
                                                               Transcript of Deputy Rollie Elder   17 (65 to 68)

                                                               Conducted on November 19, 2019
                                                                          65
1     Q. And of course, Chief, in terms of the
2 directions that your sergeant gave you, you
3 specifically followed your sergeant's direction,
4 that is, not to get involved in this pursuit for
5 this minor traffic violation, correct?
6     A. That's correct, sir.
7           MR. BROOKS: I don't have any other
8 questions.
9           MS. OSTVIG: Nothing.
10          MR. JACOBI: We'll reserve.
11          MR. BROOKS: Thank you. I don't need a
12 copy.
13          MS. OSTVIG: I'll order a copy.
14          MR. JACOBI: No copy.
15          (Proceeding concluded at 3:06 p.m.)
16
17
18
19
20
21
22
23
24
                                                                          66
1    STATE OF ILLINOIS )
               ) ss.
2    ROCK ISLAND COUNTY)
3
4            I, KONNI L. STAPF, a Certified Shorthand
     Reporter in and for the States of Illinois, Iowa,
5    and Arizona, do hereby certify that the facts as
     stated in the caption hereto are true; that the
6    witness named on the face sheet was by me sworn to
     testify to the truth and nothing but the truth
7    concerning the matters in controversy in this
     cause; that said witness was thereupon examined
8    under oath and the examination reduced to writing
     under my supervision, consisting of the foregoing
9    pages, and the computer-aided transcript is a true
     record of the testimony given by said witness and
10   all objections made.
11
            I further certify that I am neither
12   attorney or counsel for, nor related to or employed
     by any of the parties to the action in which this
13   deposition is taken; and, further, that I am not a
     relative or employee of any attorney or counsel
14   employed by the parties hereto or financially
     interested in the action.
15
16         In witness whereof I have hereunto set my
     hand this 10th day in December, 2019.
17
18
19
20
21         KONNI L. STAPF, CSR, RPR
           Registered Professional Reporter
22         Illinois CSR License No.
                084-004144
23         Iowa CSR License No. 1168
           Arizona CSR
24

                                                                        PLANET DEPOS
                                                           888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 19 of 39 PageID #:932
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             18
         A           34:9, 35:9,            23:4, 46:19,         along
abdominal            43:20                  49:20                9:13, 31:24,
42:21                add                    age                  32:1, 45:15,
able                 6:6, 18:14             25:16                55:5
38:3, 47:3,          added                  agencies             already
60:23                19:2                   9:22, 60:24          38:7, 54:10
about                additional             agency               also
7:8, 15:9,           18:22, 19:1            9:12                 4:16, 19:14,
15:11, 16:12,        address                agnew                27:5, 40:1,
16:22, 22:10,        13:8, 13:13,           1:8                  40:3, 52:21,
23:18, 27:13,        21:23, 32:18           ago                  59:4, 59:24,
27:20, 31:6,         addresses              16:5, 34:16          61:15
42:10, 42:11,        13:18                  agree                although
53:19, 54:18,        administer             23:11, 24:7,         34:9
55:23, 56:2,         46:13, 64:13           25:1, 26:19,         always
60:5, 63:1           administered           27:3, 27:5,          12:2, 48:24,
absolutely           56:23, 63:21           61:7, 61:13,         50:4, 60:22
63:19, 63:23         administering          62:4                 among
academy              44:18, 56:18           ahead                39:6
13:2                 administration         22:19, 26:7,         amount
acknowledge          62:24                  48:7                 31:19
33:6, 33:8           advise                 aid                  animal
acquaintance         46:2                   39:13, 40:4,         43:3
35:4                 advised                40:11, 40:16,        anne
acquaintances        59:12                  43:22, 60:24,        2:14
35:21                aed                    64:14                annie
across               40:1, 40:4,            al                   1:8
11:1, 38:5,          45:21, 45:23,          1:18                 another
55:4                 45:24, 46:1,           alive                9:18
action               46:2, 46:7,            42:21, 43:6,         answer
66:21, 66:25         46:9, 46:14,           43:10, 43:13         5:20, 6:11,
actions              46:17, 56:16,          all                  13:11, 13:19,
31:16, 51:3,         56:21, 57:1,           4:24, 6:14,          18:1, 25:18,
51:12, 51:23,        57:2, 57:6,            6:20, 8:13,          49:21, 50:17,
52:15                57:10                  9:22, 10:8,          60:17, 62:2
active               aeds                   10:18, 12:13,        answered
8:18, 43:2           44:19                  13:6, 26:22,         50:15, 52:24,
actively             after                  27:19, 28:3,         62:11, 62:13
58:23                11:21, 14:19,          29:14, 39:5,         anticipate
activities           15:5, 17:10,           41:22, 53:19,        6:1
5:9, 40:19           23:15, 31:19,          55:1, 57:16,         anticipation
actual               32:17, 35:2,           57:17, 59:10,        19:4
                     35:6, 35:10,           60:19, 61:15,        any
23:3                                        62:16, 63:3,
actually             36:13, 37:18,                               5:4, 5:16,
                     43:3, 43:24,           66:17                12:12, 12:15,
10:24, 20:8,                                almost
21:20, 24:6,         44:4                                        13:7, 13:8,
                     again                  11:17, 21:9,         14:7, 14:14,
24:14, 27:9,                                46:10
                     6:4, 18:15,                                 14:15, 15:6,




                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 20 of 39 PageID #:933
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             19
15:13, 15:22,        55:11                  assume               40:7, 40:14,
16:12, 18:13,        april                  46:12                43:10, 44:11,
20:21, 27:13,        6:22, 6:23, 7:4        assumed              46:3, 61:18,
29:2, 30:3,          area                   46:19                61:20, 62:7,
30:17, 30:21,        14:3, 21:21,           assuming             62:9
31:1, 33:13,         33:16, 42:21,          28:6, 54:12          banks
34:19, 36:3,         58:12, 58:21,          attached             2:15, 31:10
37:1, 37:20,         58:23, 61:9            56:17, 56:21,        barking
38:9, 42:16,         areas                  57:4                 41:18
45:5, 47:7,          10:20                  attempt              based
48:21, 49:13,        arizona                46:3, 59:1           44:20, 48:22,
50:20, 51:3,         66:7, 66:38            attend               51:10
51:12, 51:16,        arms                   14:24, 17:17         basically
52:5, 52:14,         42:20                  attended             7:17
58:1, 63:10,         arrival                13:1, 17:15,         basis
65:7, 66:21,         47:5                   17:19, 34:12         55:5
66:23                arrive                 attention            beat
anybody              46:23                  29:16                46:2, 46:18,
16:20, 61:5          arrived                attorney             47:3
anyone               53:9                   19:9, 66:20,         beating
17:17                arriving               66:23                46:9, 46:14
anything             22:20, 25:8            attorney's           because
12:12, 13:22,        artery                 48:20                6:3, 26:16,
14:11, 16:20,        45:16                  audio                32:22, 38:2,
18:13, 18:14,        asked                  20:21, 30:9          41:17, 41:21,
19:5, 51:8,          32:8, 39:21,           august               46:9, 51:24,
51:15, 53:14         50:14, 52:22,          7:8                  52:13, 53:1,
anywhere             53:19, 58:12,          auxiliary            53:13, 56:6,
8:17                 58:15, 62:10,          5:2                  58:12, 60:23
apologize            62:12                  available            become
23:6, 62:2           asking                 16:21                12:20, 15:1
appear               23:18                  avid                 been
28:15                assess                 43:2                 4:2, 4:21,
appearances          32:10, 47:13,          avoid                4:24, 7:2, 7:4,
2:1                  47:19                  31:14                7:5, 10:14,
appears              assessment             aware                11:5, 12:3,
22:12, 22:15,        27:3, 47:23,           15:1, 15:6,          12:5, 12:11,
23:3, 23:12,         49:4, 49:10,           15:12, 29:20,        13:12, 13:16,
26:4, 26:18,         51:24, 52:16,          33:12                13:20, 20:4,
26:23, 55:12         57:3                   away                 21:18, 22:5,
applicable           assist                 22:13, 23:2,         29:21, 33:19,
4:16                 9:11, 9:22,            23:12, 40:10         35:6, 35:8,
apply                15:23, 39:2                                 35:10, 36:13,
57:1                                                 B           36:14, 39:9,
                     assisted               back
approach             36:22, 39:15,                               43:3, 52:13,
55:3                                        7:8, 8:20,           53:13, 64:14
                     39:18                  22:22, 24:4,
appropriate          associates                                  before
54:22, 55:7,                                27:18, 27:24,        4:20, 6:11,
                     34:10




                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 21 of 39 PageID #:934
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             20
13:13, 23:15,        bit                    60:16, 61:14,        52:16
33:9, 36:14          22:10                  62:3, 62:15,         capacity
behalf               bjacobi@okgc           63:2, 63:9,          11:19
2:3, 2:12, 2:21      2:28                   64:24, 65:7,         caption
behind               bleeding               65:11                66:8
22:4, 22:7,          42:8                   business             capture
22:21, 31:15,        blood                  11:16, 40:18,        23:21
64:15                12:3                   54:19                captured
being                body                   byron                22:17, 51:11
9:9, 9:15,           20:24, 21:10,          11:23                captures
10:19, 28:12,        21:14                           C           23:23, 24:6,
32:3, 38:3,          boots                  cadillac             24:14, 24:18,
40:8, 41:17,         61:6                   21:24, 27:1,         25:2, 25:21,
58:22                both                   27:8, 29:19,         26:3
believe              5:18, 35:12,           32:18, 36:9          capturing
5:1, 10:1,           56:18                  call                 21:21
14:6, 14:16,         branch                 8:7, 15:24,          car
14:23, 20:22,        10:4                   29:22                19:13, 19:17,
23:22, 24:10,        break                  called               20:1, 20:5,
24:14, 25:21,        6:7, 6:9, 6:12         9:21, 14:18          20:6, 20:9,
26:3, 26:8,          breathing              calls                20:17, 20:24,
26:10, 26:20,        43:16, 44:16,          47:10                21:13, 22:3,
28:14, 29:2,         44:22, 45:2,           cam                  22:4, 22:12,
29:8, 32:23,         55:20, 55:22,          20:9, 20:20,         22:21, 22:23,
38:22, 39:21,        56:4, 56:6,            22:11, 24:13,        23:9, 23:12,
40:2, 40:15,         56:7, 56:14            24:18, 30:7,         23:19, 24:6,
41:15, 41:16,        breaths                51:11                26:23, 31:16,
45:2, 45:16,         44:17                  came                 31:24, 32:24,
45:22, 46:20,        bring                                       36:13, 36:15,
63:15, 63:20,                               19:24, 37:3,
                     43:9                   37:6, 37:10,         37:5, 39:3,
64:3                 broken                                      39:16, 39:24,
believed                                    37:18, 63:16
                     38:24                  camera               40:1, 40:3,
55:21                brooks                                      42:7, 42:14,
bell                                        25:16
                     2:5, 3:6, 4:7,         can't                42:20, 43:16,
31:11                4:13, 4:18,                                 43:21, 43:24,
benjamin                                    13:20, 16:3,
                     22:24, 23:7,           24:22, 25:10,        44:5, 53:20,
2:23                 23:16, 25:24,          32:11, 33:22,        53:24, 54:6,
best                 26:9, 26:14,           38:6, 40:6,          54:11, 55:9,
25:18, 36:17,        26:17, 27:17,          43:6, 45:7,          55:13, 55:14,
40:9, 43:8,          28:2, 28:23,           51:24, 61:5          59:4, 61:18,
64:16                31:7, 31:9,            canine               62:6, 62:7,
better               36:21, 37:11,                               62:9, 64:5
                                            8:24, 9:7, 9:9,      card
11:12, 58:2          37:13, 43:11,          9:15, 9:20,
beyond               48:9, 50:16,           12:20, 13:2,         12:10
11:11, 12:16,        51:16, 52:18,          58:22                career
30:18, 30:22,        53:4, 53:16,           cannot               10:8, 11:14,
50:8, 50:12,         54:2, 55:15,           10:15, 24:21,        12:5, 15:8,
50:23, 59:23         57:21, 59:9,                                15:12




                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 22 of 39 PageID #:935
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             21
carli                chest                  co-administrators    62:20
13:21, 14:10         46:14, 56:11           1:10                 concerning
cars                 chicago                cochran              5:13, 36:4,
19:11                2:8, 2:17,             2:6                  66:11
case                 31:13                  com                  concluded
15:18, 28:7,         chief                  2:10, 2:19,          65:15
31:2, 48:19          6:18, 7:6, 7:7,        2:28                 concrete
cater                7:10, 7:12,            come                 12:1
28:5, 31:24,         7:16, 30:14,           8:16, 11:1,          conduct
32:16, 32:24,        30:17, 40:17,          55:4                 9:12
33:1, 33:8,          47:12, 50:21,          coming               confirm
33:12, 33:20,        65:1                   8:9, 42:16,          33:1
34:5, 35:1,          circle                 52:9, 59:8           confused
35:5, 36:2,          36:1                   common               41:17
36:3, 40:8,          circumstance           5:21, 10:24,         connection
40:13, 52:23         40:21, 60:11           13:23, 14:1          5:8, 30:18,
cater's              circumstances          communicate          30:22
49:10                21:7                   59:10                consider
cause                citizen                communicated         35:18
61:4, 66:12          11:9, 40:22,           39:6, 59:22,         considerable
caused               41:1, 41:6,            62:20                48:13
48:15                41:10, 41:19,          communicates         considerately
center               42:3, 54:21            61:16                23:2
14:21, 14:24,        citizens               communicating        considered
16:8, 38:5,          42:1                   41:1, 41:9,          8:22, 10:2
59:14                city                   42:3                 consistent
certain              1:18, 7:13,            communication        48:5, 49:5,
5:13, 60:6           35:15                  29:24, 30:12,        49:11
certification        civil                  57:24, 58:6,         consisting
12:10, 12:12,        4:15, 9:13,            59:24                66:14
12:16                13:16                  communications       console
certifications       clarify                30:4, 60:6           38:5
12:24                18:8, 19:16,           community            construction
certified            37:7, 56:16            14:20, 14:23,        11:15, 11:16,
66:5                 classifying            16:8                 12:2, 12:5,
certify              55:1                   comparison           12:8, 34:23
66:7, 66:19          clean                  43:1                 contact
champaign            37:11                  complex              14:14, 35:2,
10:7                 clear                  15:18, 15:22,        48:17
chance               49:1                   16:1                 context
43:9, 64:17          climbed                compound             11:5, 11:8,
change               38:4                   54:3                 35:19
55:21                close                  compressions         continually
changes              23:24, 26:22,          46:15, 57:7          46:6
18:22                43:18                  computer-aided       continue
charges              closer                 66:15                46:5, 46:7
48:21                32:2                   concerned            continued
checking             cloudy                 12:9, 50:23,         57:3, 57:4
45:15                37:22



                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 23 of 39 PageID #:936
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             22
controversy          53:19, 54:18,          57:3, 57:4,          8:19, 17:10
66:11                66:20, 66:23           57:8, 63:21          dead
conversation         counsel's              crash                43:4
5:22, 33:6,          51:22                  9:14                 deadly
33:14                counseling             created              47:15, 50:12,
conversations        16:20                  53:10                51:5, 51:14
27:13                count                  credentials          dearborn
conversed            7:21                   12:19                2:7
35:22                county                 critical             deborah
cook                 5:2, 6:15,             15:17, 15:20,        2:14
2:24                 6:21, 6:24, 7:6,       16:1, 54:24          debrief
cookout              7:12, 7:13,            csr                  14:22, 15:15,
35:22                7:15, 7:23,            1:33, 66:33,         16:1, 16:15
copy                 8:21, 9:20,            66:35, 66:37,        debriefing
65:12, 65:13,        9:23, 10:5,            66:38                14:19, 15:2,
65:14                15:8, 15:12,           current              15:5, 15:7,
correct              20:15, 48:20,          12:17, 47:12,        15:13, 16:7,
11:10, 16:9,         49:23, 50:3,           47:22, 48:1,         16:13, 17:2
19:3, 26:5,          50:10, 50:23,          49:3                 december
32:18, 38:12,        58:1, 59:14,           currently            8:10, 66:28
43:14, 45:11,        59:24, 60:5,           6:14                 decision
52:2, 52:7,          61:9, 62:20,           curriculum           50:21
52:11, 52:17,        66:3                   13:3                 deer
52:19, 53:12,        couple                 customarily          10:21, 11:2
53:15, 53:17,        17:24, 51:18           41:8                 defendant(s
54:8, 54:15,         course                 cv                   2:12
54:17, 56:19,        6:8, 10:10,            1:16                 defendants
57:8, 57:14,         18:5, 18:17,                    D           1:20
65:5, 65:6           28:6, 29:15,                                defense
                     58:22, 65:1            danger
corroded                                    58:20                31:1
45:15                court                                       definitive
                     1:4, 4:9, 5:24,        darn
could                                       21:1, 21:3           13:19, 62:2
11:18, 20:10,        6:5, 10:4, 13:17                            definitively
                     courthouse             dash
25:14, 25:15,                               20:9, 20:20,         20:10, 32:22,
25:16, 25:17,        10:5                                        39:21
                     coutts                 22:11, 24:13,
30:9, 32:23,                                24:18, 30:7,         department
37:11, 38:17,        14:17, 19:10,                               6:19, 6:24,
                     20:18, 22:4,           51:11
43:8, 43:15,                                date                 9:10, 35:11,
43:17, 43:23,        22:7, 22:13,                                47:20, 47:24,
46:10, 55:6          23:9, 23:13,           19:4
                                            dates                48:1, 48:11,
couldn't             24:1, 25:13,                                49:11, 49:17,
13:11, 16:15,        31:16, 32:1,           10:15
                                            day                  49:24, 51:1
28:17, 29:17,        39:24, 56:18,                               department's
44:14, 47:8,         57:13                  5:22, 7:1, 7:2,
                                            7:3, 11:17,          48:6, 49:6
49:20                cpr                                         deposition
counsel              44:18, 46:5,           11:24, 21:17,
                                            66:28                1:22, 4:14,
2:1, 5:11,           46:7, 46:13,                                4:20, 5:7, 5:12,
23:15, 37:12,        56:19, 56:23,          days
                                            7:6, 8:15,           14:18, 19:5,




                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 24 of 39 PageID #:937
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             23
66:22                dirty                  10:7, 10:21,         13:4, 14:14,
deputies             25:15                  11:2                 14:15, 27:1,
7:23                 discernible            driver               30:19, 30:23,
deputy               28:11                  32:12, 36:6,         33:9, 36:13,
1:23, 3:3, 4:1,      discovery              61:20                36:22, 37:2,
4:19, 6:15,          4:14                   driver's             37:5, 37:17,
8:22, 8:24,          discrepancies          32:6, 38:2,          37:21, 39:3,
9:13, 9:24,          18:13                  38:23, 39:14,        39:16, 40:5,
10:2, 10:19,         disobey                44:10                40:9, 40:12,
14:17, 20:17,        64:4                   driveway             42:6, 42:13,
22:4, 31:15,         disobeyed              22:5, 32:1,          42:17, 44:4,
35:15, 39:24,        63:15, 63:20           32:2, 33:17,         44:8, 44:21,
50:21                dispatch               44:10                45:1, 45:10,
describe             30:3, 30:11,           drug                 45:14, 46:18,
27:6                 59:14                  9:16                 46:24, 47:4,
described            dispatcher             due                  49:9, 51:4,
27:2, 59:17          59:23, 60:7            9:19, 59:20,         51:13, 51:23,
description          distance               60:21                52:4, 52:15,
3:15                 22:13, 26:16           dui                  53:20, 55:20,
determination        district               9:14                 56:13, 56:17,
39:23, 45:8,         1:4, 1:5, 4:17,        duly                 59:4, 62:17,
48:23, 56:8          17:13                  4:2                  63:17, 63:22,
determine            division               dundee               64:5
43:18                1:3, 1:6               2:25                 effect
determined           dixon                  during               57:24, 61:17,
39:2, 44:16,                                8:13, 15:7,          62:5, 62:7
                     11:21                                       either
56:7, 59:20          documents              15:11, 18:5,
device                                      18:16, 29:14,        11:18, 12:5,
                     30:22                                       37:1, 47:13,
25:2                 dog                    54:24, 57:23
different                                   duties               54:16
                     6:7, 10:22,                                 elder
10:3, 18:16,         29:12, 29:14           10:10
22:16, 35:13,                               duty                 1:23, 3:3, 4:1,
                     dogs                                        4:11, 4:14,
41:19, 47:10         36:1                   7:22
differs                                                          4:19, 30:17
                     doing                           E           else
9:7                  25:17                  e-l-d-e-r
difficult                                                        8:17, 61:5
                     done                   4:12                 employed
6:5                  11:15, 18:11,          each
digital                                                          50:10, 66:20,
                     33:8, 41:12,           15:24, 35:16,        66:24
46:11                48:16, 54:9            60:7
diligence                                                        employee
                     door                   east                 66:23
60:22                38:2, 38:4,            1:29
directed                                                         employment
                     38:16, 38:18,          eastern              8:21, 11:12,
40:13                38:21, 38:23,          10:4
direction                                                        47:17, 50:3,
                     42:6, 44:1             easy                 50:18
65:3                 dostvig@schainba-      12:3
directions                                                       en
                     nks                    edwards              58:11, 59:15
41:13, 65:2          2:19                   1:9, 1:12,
directly                                                         enforcement
                     down                                        4:24, 5:5, 5:9,
64:7                 5:24, 8:16,


                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 25 of 39 PageID #:938
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             24
10:9, 10:11,         39:7                   facts                fell
11:11, 11:14,        everything             66:7                 42:12
12:6, 12:18,         49:1                   failing              felony
12:19, 35:7,         exact                  58:17                58:19
40:18, 47:19         10:15, 33:5            fair                 felt
enforcing            exactly                6:12, 17:4,          44:13, 44:14
39:9                 6:3, 24:23,            42:5, 42:19,         few
engage               25:10, 37:23           46:22, 51:23,        4:21, 17:10,
58:23                examination            52:3, 53:9           34:16, 57:22
engine               3:1, 3:5, 4:6,         fairly               field
38:14                51:20, 57:20,          40:23                12:5, 40:18
enough               63:13, 64:23,          falls                filled
6:12, 15:22,         66:13                  1:18, 1:30,          8:11
17:4, 42:5,          examined               13:24, 14:3,         final
43:18, 46:22         4:4, 66:12             14:23, 16:8,         23:19, 48:4,
entire               examples               19:17, 19:19,        48:23
15:12                10:17                  20:4, 20:8,          finally
erie                 exhibit                32:3, 32:5,          22:1
6:18, 7:3, 7:7,      3:15                   34:11, 34:15,        financially
7:12, 7:13,          exhibits               35:15, 40:2,         66:24
7:14, 7:16,          3:14                   49:9, 49:17,         findings
12:17, 47:18,        exited                 58:13, 59:13,        49:14
47:23                21:10                  59:21, 60:5,         fine
especially           experience             61:9, 63:4           58:10, 64:21
11:1                 5:5, 34:20             familiar             fired
essentially          expert                 14:7                 10:9, 10:21,
8:7, 9:1, 12:4       43:5                   family               28:5, 28:10,
establish            expired                11:15, 14:8,         28:12, 28:18,
47:3                 12:13                  14:15                29:21, 31:21,
estate               explain                far                  32:9, 32:12,
1:11                 15:21, 22:15,          12:8, 22:1,          32:17, 33:13,
et                   22:19, 48:10           22:7, 22:9,          36:3, 36:4,
1:18                 explained              24:14, 42:2,         52:23, 53:1,
ethan                5:11                   47:10, 50:22,        53:3, 53:11
33:23, 40:2          explanation            62:19                fires
even                 25:19, 64:19           fashion              28:3
43:3, 64:17          express                59:11                firing
evening              1:28                   fast                 25:22, 26:5,
28:7                 eye                    36:10                26:11, 26:12,
ever                 44:3                   federal              53:15
10:9, 10:20,         eyes                   4:15                 firm
13:15, 13:19,        43:23                  feel                 2:6
33:1, 36:9,                   F             44:15, 45:16,        first
61:1, 62:16                                 45:19                4:2, 4:9, 4:23,
every                face                   feeling
                     66:9                                        7:2, 10:13,
5:22, 9:13,                                 45:17                32:9, 39:13,
11:17, 60:20
                     fact                   feet                 40:4, 40:11,
everybody            32:16, 33:13           24:4                 40:16, 43:22,
8:12, 10:1,



                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 26 of 39 PageID #:939
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             25
52:9, 64:14          61:11, 61:22,          generalize           good
fischbach            62:10, 62:23,          41:16, 55:6          28:13, 41:23,
13:21, 13:23         64:1                   generally            61:7, 61:8
fischbachs           formed                 42:4, 54:19,         grab
14:2                 62:8                   58:18, 63:5          40:1, 40:3
five                 foundation             generated            grabbing
7:21, 33:15          22:19, 23:14,          18:7, 20:9           44:19
flash                28:20, 36:18,          gentleman            graduated
25:8, 27:7,          42:23, 48:7,           39:13, 39:23,        13:3, 34:10,
28:8, 28:11,         50:2, 55:16,           40:8                 34:18
28:15, 28:16,        59:6, 60:14,           getting              graduating
29:3, 29:6,          61:11, 61:22,          39:23, 41:21,        11:21
29:7, 29:15,         62:10, 62:23           43:21, 58:7          grainy
31:18, 31:20,        franklin               give                 25:10, 25:13
52:10, 53:11         13:13, 24:3            10:15, 10:17,        grandfather
flashes              frequency              11:12, 13:19,        11:17, 12:1
28:19                60:2                   16:15, 18:10,        grew
flee                 friends                21:7, 34:17,         11:15
58:24                34:9, 35:18            36:12, 36:17,        ground
fleeing              front                  45:7, 46:20,         44:5, 44:8,
9:19                 48:19, 57:1            49:20, 54:23,        44:10, 44:22,
focus                full                   55:8, 55:12,         45:3, 45:10,
43:21                4:8, 8:1, 8:10         58:8, 61:19,         55:24, 56:1,
folks                full-time              62:1                 56:2, 56:13
14:4                 7:3, 7:10, 7:20        given                group
follow               further                4:19, 66:16          39:6
41:23, 52:4          22:22, 23:2,           gives                guess
followed             23:12, 66:19,          54:20, 62:5          12:3, 22:9,
65:3                 66:22                  giving               49:2, 53:7,
follows                       G             18:17, 41:13         55:5, 58:8,
4:4                  gathering              go                   64:20
force                17:16                  6:11, 8:20,          guessing
47:15, 47:20,        gave                   13:18, 18:12,        26:21
47:24, 48:5,         5:7, 17:5, 65:2        22:19, 26:7,         gun
48:12, 48:14,        gear                   39:9, 45:23,         26:5, 28:11
49:5, 49:11,         37:5, 53:21,           48:7, 48:24          gunshot
50:12, 51:6,         53:24, 54:1,           going                29:8
51:14, 52:16         54:7, 54:10,           6:2, 6:3, 8:9,       gurgling
forceable            54:12                  17:23, 33:24,        45:4, 45:6,
58:19                gears                  37:16, 41:18,        55:20, 56:2,
foregoing            37:21                  41:20, 42:2,         56:6
66:14                geitner                43:4, 43:7,          gut
form                 2:24                   43:9, 45:23,         43:7, 43:12
22:18, 23:4,         general                50:14, 59:4,         guy
25:23, 26:6,                                59:15, 61:3,         32:24, 64:14
                     49:2                   64:16, 64:18
52:18, 53:4,         generalization                              guys
53:16, 54:2,                                gone                 8:5, 8:14,
                     16:17                  35:22
55:15, 60:14,                                                    32:10, 56:17




                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 27 of 39 PageID #:940
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             26
         H           39:22, 64:17,          however              15:22, 16:3,
hand                 64:18                  10:17, 31:21,        16:4, 17:10,
66:28                helped                 38:23, 39:22,        23:21, 34:6
handle               63:17                  58:14, 58:21,        incidents
8:16, 37:20          helping                61:5, 64:9,          47:14
handler              39:10, 64:4            64:10                including
8:24, 9:10,          here                   huh-uh               31:3
9:15, 9:20,          20:7, 31:3             5:23                 independent
58:22                hereby                 hundred              1:9, 30:12
hands                66:7                   24:4                 index
42:9, 42:10,         herein                 hung                 3:1, 3:14
55:5                 4:2                    35:23                indicated
happened             hereto                 hunter               45:13
15:17                66:8, 66:24            43:2                 indication
happens              hereunto                        I           36:6, 61:19
44:7                 66:27                  idea                 individual
hard                 hey                    25:14, 47:6,         41:14
26:15, 55:1          8:14, 16:15            49:13                industry
hate                 high                   ignition             12:8
32:22, 43:1          11:21, 34:10,          38:6                 information
headquarters         34:12, 34:14,          il                   5:13, 16:22,
15:16, 16:2,         34:15, 34:22,          2:8, 2:17, 2:26      19:1, 32:21,
17:13                35:2                   illinois             36:4, 49:15,
hear                 hired                  1:1, 1:5, 1:30,      52:14, 60:8,
29:1, 29:2,          10:3                   4:17, 13:1,          64:6
29:8, 30:10,         history                15:16, 16:2,         inherent
42:16, 59:24,        11:13                  17:5, 17:16,         58:20
60:2, 60:8, 61:3     hold                   18:2, 18:18,         initial
heard                12:9, 12:15,           19:8, 48:17,         57:2
29:9, 29:22,         27:12                  50:6, 50:8,          injured
31:20, 40:18,        holder                 50:13, 50:20,        10:21, 10:22,
45:4, 55:20,         21:13                  50:24, 66:1,         11:2
56:2, 57:23,         holding                66:6, 66:35          injury
58:14                8:23                   image                48:14
hearing              holiday                26:4, 26:11,         inn
59:12                1:28                   26:18, 26:24,        1:28
heart                honest                 27:6                 inside
46:2, 46:3,          26:21                  images               7:15, 20:1,
46:8, 46:14,         hospital               22:16, 24:18,        21:13, 42:20,
46:17, 46:18,        47:5                   51:11                43:16, 43:24
47:3                 hospitalization        impression           instead
heartbeat            48:15                  46:23, 62:8          5:21
46:11, 46:24,        hours                  inches               institute
57:7, 57:10,         8:3, 8:6, 8:12,        43:20                10:7
57:13                17:24, 18:6            incident             interacting
help                 house                  9:18, 15:10,         40:22, 41:6,
9:16, 39:20,         13:16, 32:2,           15:17, 15:20,        41:24
                     55:3                                        interaction
                                                                 11:8, 13:7


                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 28 of 39 PageID #:941
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             27
interested           itself                 48:24, 49:1,         labor's
24:5, 66:25          24:11, 24:15,          60:23                11:20
interim              49:17, 51:1            kenny                laborer
7:5, 7:7                      J             2:15                 11:24
internal             jacobi                 key                  labors
49:4, 49:18,         2:23, 22:18,           38:14                12:13
49:23, 50:11,        23:4, 23:14,           kind                 lack
50:20, 51:1          25:23, 26:6,           21:19, 40:15         58:2
interpretation       26:13, 27:12,          kit                  laid
58:9, 62:14          27:20, 28:20,          40:4                 44:9
intertwined          36:18, 48:7,           knew                 last
60:4                 50:2, 59:6,            34:5, 34:8,          4:10, 6:6, 7:1,
interview            60:14, 61:11,          39:8, 58:12,         7:2, 7:8, 14:5,
17:11, 17:15,        61:22, 62:10,          58:16, 59:4,         14:8, 27:9
17:22                62:23, 64:1,           59:7, 64:14          latch
investigate          65:10, 65:14           know                 38:21
48:18, 50:6,         january                5:17, 6:3, 6:8,      law
50:11                5:15, 13:5,            13:4, 13:7,          4:24, 5:4, 5:8,
investigated         13:14, 51:4            13:10, 14:13,        10:8, 10:11,
50:19                jar                    16:24, 17:3,         11:11, 11:14,
investigates         18:13                  19:18, 20:3,         12:6, 12:18,
49:18, 49:24         jay                    20:6, 20:8,          12:19, 35:6,
investigation        17:18                  22:7, 25:12,         39:10, 40:17,
51:1                 job                    27:18, 30:1,         47:18
investigations       59:1                   30:2, 31:8,          lawyer
9:14, 9:15,          jobsite                31:21, 32:20,        27:18, 31:3
9:17                 11:19                  34:2, 34:16,         lawyers
involved             john                   37:2, 37:5,          31:1, 31:13
5:14, 31:2,          32:8, 32:11,           37:15, 37:17,        lead
48:12, 50:4,         34:10, 36:5,           45:7, 46:16,         40:24, 41:9,
52:5, 58:2,          36:7                   47:2, 47:7,          42:2
58:13, 58:18,        join                   47:11, 49:8,         leading
59:3, 59:13,         28:21                  49:21, 50:9,         53:14
59:16, 62:16,        joined                 53:10, 54:1,         learned
64:7, 64:9,                                 54:4, 54:6,          32:16, 36:2
                     9:23, 11:20,           54:9, 54:16,
64:10, 65:4          62:12                                       least
involvement                                 55:2, 59:2,          8:12, 17:23,
                     jurisdiction           62:1, 63:3, 63:7
37:1, 50:8,          9:19, 16:24                                 24:6, 26:3,
50:13, 50:24                                knowing              26:19, 50:10
                     jurisdictions          47:10
involving            15:23, 60:4,                                leave
47:14                                       konni                6:20
                     60:7, 61:3             1:33, 66:5,
iowa                 justify                                     led
66:6, 66:37                                 66:33                45:2
                     51:5, 51:13            kosoff
irregular                     K                                  left
46:1                                        2:24                 6:23, 8:22
island               keep                            L           less
66:3                 41:16, 48:16,          labor                7:24
isolated                                    12:9                 let's
40:10                                                            12:15, 21:21,


                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 29 of 39 PageID #:942
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             28
48:13, 59:3                    M            mean                 62:9
lethal               ma'am                  13:22, 14:10,        movement
51:13                52:8, 52:19,           31:19, 38:20         42:13, 43:4
level                53:22, 55:17,          medical              moving
42:11                56:15, 57:5,           40:11, 43:5          36:10
liability            57:9, 57:12,           melvin               much
63:1                 57:15                  2:5                  25:12
license              made                   member               multiple
12:16, 66:35,        18:23, 29:24,          14:15                15:23, 25:15,
66:37                33:12, 36:6,           mentioned            40:23, 41:8,
line                 39:22, 49:9,           14:17                41:13, 41:17,
53:21                60:6, 66:17            met                  41:21, 41:24,
listened             madison                19:10                54:23, 55:7,
30:3, 30:11          2:16                   mic                  55:12
little               magnitude              20:24, 21:10,        muzzle
22:10                48:13                  21:14                25:8, 25:22,
lived                main                   mid                  27:2, 27:6,
13:8, 13:10          39:11, 39:12,          42:11                28:8, 28:15,
llc                  43:21                  middle               28:19, 29:3,
2:24                 maintain               7:8                  29:6, 29:7,
locate               35:1                   military             29:15, 31:18,
59:1                 make                   34:19                31:20, 52:10,
located              5:18, 26:16,           minor                53:11
21:24, 29:19         47:14, 48:23,          62:22, 63:6,         myself
location             49:4, 51:24,           64:8, 65:5           7:19, 26:21,
59:15                52:16, 56:8,           minute               33:20
locked               58:7                   36:19                         N
38:3                 makes                  mischaracterizes     name
long                 6:5                    26:6                 4:8, 4:9, 4:10,
4:24, 12:11,         man                    misinterpreted       13:21, 13:23,
16:5, 17:21,         61:6                   27:10                13:24, 14:5,
21:19, 36:12,        manage                 misstates            14:8, 14:10,
60:9                 7:18                   53:5                 32:4, 33:22
look                 many                   month                named
18:12                7:17, 8:3,             8:6, 8:9             66:9
looked               20:12, 29:1            more                 names
26:22                march                  8:18, 9:11,          16:16
looking              7:2, 10:3              25:12, 28:10,        narrative
22:11, 44:2,         matter                 28:12, 28:16,        18:2, 18:4,
56:10                28:6, 60:20,           28:18                18:6, 18:10
lot                  64:15                  most                 nate
9:16, 10:20,         matters                12:6, 24:5,          1:11
11:22, 14:4,         66:11                  35:24                nathaniel
16:19, 47:9          maybe                  mostly               1:11, 13:4,
lots                 8:6, 11:23             7:22                 30:19, 30:23,
25:17                mbrooks@cochranf-      motoring             49:9, 51:4
lucky                irm                    58:20                nature
8:5                  2:10                   motorist             5:23, 15:4,
                                            61:16, 62:6,


                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 30 of 39 PageID #:943
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             29
15:7, 15:14,         november               28:4, 31:24,         32:9, 39:8,
58:5                 1:25                   32:1, 32:12,         39:12
nayshawn             nuke                   33:20, 33:21,        once
1:8                  11:23                  33:23, 34:3,         8:11, 18:11,
near                 number                 34:5, 35:1,          28:10, 28:12,
42:21                9:2, 13:18             35:5, 35:14,         28:16, 28:18,
need                          O             39:19, 39:20,        39:7, 39:11,
6:7, 61:1,           o'halloran             40:1, 40:5,          39:22, 44:15,
65:11                                       40:8, 40:19,         46:19, 49:20
                     2:24                   40:24, 41:9,
needed               oath                                        one
8:7, 16:20                                  42:2, 48:12,         12:20, 15:17,
                     66:13                  48:18, 48:21,
needs                object                                      16:3, 17:13,
9:19                                        53:10, 53:15,        18:10, 25:7,
                     36:18                  54:19, 54:20,        32:3, 33:7,
neither              objection
66:19                                       56:18, 57:13,        40:24, 41:8,
                     22:18, 25:23,          58:1, 60:12,         42:2, 44:23,
never                42:22, 52:18,
11:7, 13:12,                                61:4, 61:16,         47:13, 48:1,
                     53:4, 53:16,           61:20, 62:5,         54:19, 63:11
21:9, 35:22,         54:2, 55:15,
35:23                                       62:8, 64:11          only
                     61:12                  officer's            6:9, 9:12,
new                  objections
33:21                                       20:1, 46:17,         9:20, 10:20,
                     66:17                  50:12                16:22, 34:16,
nice                 observation
8:6                                         officer-involved     64:6, 64:19
                     51:5                   49:19, 50:1,         open
night                observed
11:22, 27:10,                               50:5                 38:17, 42:5,
                     56:13                  officers             43:24
29:4                 obsolete
noise                                       7:17, 7:20,          opened
                     21:19                  7:21, 7:24, 8:5,     38:21, 44:1,
42:16                obviously
none                                        8:11, 8:14,          56:24
                     5:12, 9:1,             8:18, 16:12,         opinion
3:17, 31:10          9:10, 13:16,
normally                                    16:14, 17:1,         55:21, 56:12
                     18:8, 18:15,           20:8, 32:3,          opposed
21:14, 41:2          22:20, 22:22,
northbrook                                  32:5, 33:14,         22:13, 25:13,
                     23:8, 31:3,            39:12, 40:23,        41:12, 46:17
2:26                 32:9, 33:20,           41:8, 41:13,
northern                                                         order
                     42:11, 48:23,          41:24, 44:19,        55:13, 65:13
1:5, 4:17            54:24                  47:15, 47:20,
nothing              occurred                                    ordered
                                            47:24, 54:23,        39:24
4:3, 65:9,           22:6, 28:16            55:4, 55:8,
66:10                office                                      orders
                                            55:12, 59:2,         41:13, 41:18,
notice               5:3, 10:2,             59:23, 61:2,
29:4, 36:11,                                                     41:21, 54:20,
                     17:19, 19:10,          62:21, 63:5          54:23, 55:8,
42:7                 31:7, 31:8,            official
noticed                                                          55:12, 63:16,
                     35:16, 48:20           10:9                 63:21, 64:4
29:3, 42:9           officer                okay
notices                                                          ostvig
                     5:14, 9:7, 9:8,        10:23, 12:15,        2:14, 3:7,
13:17                10:11, 12:20,          27:16, 27:22,
notified                                                         28:21, 31:6,
                     19:19, 20:5,           31:17, 32:8,         37:7, 42:22,
59:14



                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 31 of 39 PageID #:944
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             30
50:14, 51:18,        pages                  9:12, 35:10          plant
51:21, 52:20,        66:15                  patrolling           11:23
53:6, 53:18,         paramedics             60:12                please
54:5, 55:18,         46:22, 47:3,           pause                5:21
57:17, 60:15,        47:7, 47:9             56:24                plus
61:12, 61:23,        park                   pay                  4:22
62:12, 63:11,        38:7, 38:8,            8:13                 point
63:14, 64:2,         38:10, 54:13           paying               6:6, 14:19,
64:21, 65:9,         parked                 29:16                15:5, 17:4,
65:13                22:1, 22:3,            pending              21:19, 23:14,
other                22:21, 23:18,          6:10                 23:20, 25:7,
5:4, 6:1, 7:19,      32:17, 32:18,          people               28:24, 37:20,
8:19, 8:23,          33:17, 52:6            8:19, 39:6,          40:8, 40:10,
9:13, 9:22,          parks                  39:10, 41:18,        44:7, 44:20,
15:6, 15:13,         23:15                  55:4, 60:21          45:9, 45:21,
15:24, 16:21,        part                   performing           49:3, 55:22,
20:14, 32:3,         12:6, 35:12,           10:10                56:14, 56:22,
32:4, 33:14,         37:22, 51:3,           period               57:23, 59:5
35:16, 44:18,        51:12, 52:5,           8:13                 pointed
50:22, 51:17,        52:13, 53:13,          periodically         27:11
59:2, 59:23,         61:24, 64:9,           21:6                 points
61:3, 63:10,         64:13                  person               18:16
65:7                 part-time              26:12, 26:19,        police
out                  7:5, 7:7, 7:21,        26:24, 27:5,         6:18, 6:19,
8:11, 8:14,          7:24, 8:5, 8:13        27:7, 41:16,         10:6, 13:2,
9:16, 11:21,         participated           48:13, 58:19         15:16, 16:2,
15:15, 16:23,        17:2                   personally           16:24, 17:5,
18:12, 26:16,        participating          47:10, 60:22         17:13, 17:16,
27:11, 31:23,        59:11                  persons              18:3, 18:18,
35:23, 36:20,        particular             13:8                 19:9, 40:19,
39:23, 40:6,         15:10, 21:17,          perspective          40:22, 41:6,
43:21, 55:9          28:7, 29:20,                                41:23, 48:17,
outside                                     41:22, 51:12
                     31:2, 34:2,            picking              50:6, 50:9,
7:19, 35:19,         37:22, 46:23                                50:13, 50:20,
49:1, 61:6                                  46:14, 46:17,
                     parties                57:7, 57:11,         50:24, 61:8
over                 66:21, 66:24           57:14                policy
18:6, 18:12,         passenger              place                48:6, 49:6,
18:21, 29:22,        26:24, 27:7,                                49:12, 49:21,
31:20, 32:5,                                13:5, 13:9,
                     38:4, 38:18,           13:14, 14:19,        63:4, 63:7
36:7, 40:15,         38:23, 42:6                                 portion
59:12                                       15:5, 16:7,
                     passenger's            17:12, 18:9,         18:18, 23:21,
own                  38:16                  21:22, 27:2,         23:24, 24:7,
45:17                passing                50:11, 52:1          25:2, 27:23
         P           16:15, 35:17           placed               position
pads                 patch                  44:5, 44:9           8:23, 47:12,
57:4                 57:1                   plaintiff(s          47:18, 47:19,
page                 patrol                 2:3                  47:22, 49:4
3:5, 3:15, 5:19      5:2, 8:24, 9:8,        plaintiffs           possibility
                                            1:14                 28:13



                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 32 of 39 PageID #:945
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             31
potentially          66:34                  put                  react
56:3, 60:8           prohibits              10:21, 11:2,         29:14
pouring              63:4                   38:8, 46:3,          read
12:1                 protecting             53:20, 53:23,        18:21, 27:18,
practice             39:10                  53:24, 54:6,         27:23
41:23, 61:8          provide                54:12, 55:4          really
prepared             18:2, 36:3,            putting              24:16, 25:19,
30:17                39:13, 40:11,          38:10, 55:13         62:1
presence             60:24, 64:18                    Q           rear
27:14                provided               qualified            32:6
present              17:9, 18:4,            43:5, 46:20          reason
16:8, 16:10,         18:19, 32:20           question             6:8, 45:5,
17:1, 19:9,          providing              5:17, 5:20,          58:15
19:19, 33:14,        18:5                   6:2, 6:10, 6:11,     reasoning
40:23, 59:5          proximity              18:1, 23:6,          64:15
pretty               33:16                  23:17, 25:18,        reasons
13:18, 15:18,        public                 27:17, 37:14,        25:15, 25:17
15:24, 25:9          49:2, 58:20            51:22, 53:8,         recall
primarily            pull                   58:8, 63:11          13:6, 13:15,
9:21                 31:15, 31:23           questioning          14:9, 14:21,
print                pulled                 53:21                15:3, 15:19,
18:12                22:21, 29:18,          questions            16:5, 16:16,
prior                38:20                  5:13, 18:9,          17:8, 26:15,
5:4, 11:14,          pulling                18:22, 51:17,        29:9, 29:11,
13:4, 34:5,          24:3, 29:5,            57:18, 57:22,        32:4, 32:7, 59:7
47:17, 51:8          29:23, 31:17           63:10, 65:8          received
priority             pulse                  quite                12:23
39:11, 39:13         44:13, 44:14,          4:21, 9:21,          recollection
privy                44:15, 44:17,          41:4                 38:10, 38:13
49:14                45:10, 45:14,                   R           record
probably             45:16, 45:17,          r-o-l-l-i-e          4:13, 27:23,
33:16, 36:20,        45:22                                       66:16
                     pursuant               4:11                 recording
43:7, 43:13,                                radio
61:2, 61:8           4:15                                        25:2
                     pursue                 29:22, 31:21,        recordings
problem                                     58:9, 59:12,
25:20, 37:12         62:21                  59:21, 60:1,         30:12
procedure            pursuing               60:10, 60:12,        reduced
4:16, 40:24,         63:5                   60:23, 61:4,         66:13
41:23, 49:18,        pursuit                61:10                reference
49:24, 50:11         52:5, 52:14,           raised               21:23
proceeding           52:15, 53:14,          42:20                referring
65:15                58:13, 58:14,          raising              61:18
process              58:15, 58:23,          42:10                reflect
8:8, 9:13,           59:13, 59:16,          random               4:13
13:16, 17:12,        59:18, 62:17,                               refuses
                     64:8, 64:9, 65:4       13:18
37:8                                        reached              55:8
professional         pursuits                                    regard
                     58:18                  38:5
12:4, 35:19,                                                     51:22, 51:23,



                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 33 of 39 PageID #:946
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             32
52:14, 52:21         requires               road                 28:6, 34:11,
registered           15:23                  2:25, 11:2           34:12, 53:1
66:34                reserve                rock                 saw
regular              65:10                  1:18, 1:30,          25:7, 27:21,
9:12                 residence              13:23, 14:3,         28:14, 29:6,
regularly            52:6                   14:23, 16:8,         29:7, 31:18,
11:3                 responded              19:17, 19:19,        31:20, 39:12,
related              47:8                   20:4, 20:8,          42:13, 42:19
66:20                response               32:3, 32:5,          say
relates              46:6                   34:11, 34:15,        7:21, 8:14,
40:19                responsibilities       35:15, 40:2,         12:3, 12:15,
relative             9:2, 35:20,            49:9, 49:17,         17:21, 17:23,
24:10, 49:8,         47:13                  58:13, 59:13,        21:2, 21:21,
49:16, 66:23         restate                59:21, 60:5,         25:20, 30:6,
remember             5:17, 37:15,           61:9, 63:4, 66:3     32:22, 35:21,
14:22, 15:15,        37:16                  role                 36:19, 37:9,
16:3, 16:14,         retired                9:7, 9:8             42:19, 48:4,
33:5, 33:22,         7:22                   roles                48:13, 50:14,
38:7, 40:6,          reverse                9:3, 9:4, 10:3,      51:24, 52:3,
44:2, 46:9,          36:10, 55:13           48:1                 53:9, 54:12,
53:21, 56:4          review                 rollie               59:3
removal              19:7, 25:11,           1:23, 3:3, 4:1,      saying
47:4                 47:14, 47:20           4:11, 4:14           23:1, 30:7,
remove               reviewed               room                 50:22
64:4                 19:5, 19:8,            27:14, 33:17         scale
removed              30:8, 30:21            route                46:11
33:9, 36:14,         rhythm                 58:11, 59:15         scan
44:4                 46:4                   routine              60:10, 60:13,
removing             right                  40:23                60:23, 61:5,
36:22, 39:3,         6:14, 6:20,            rpr                  61:10
39:15, 63:17         10:8, 10:18,           66:33                scanning
rendering            17:6, 23:9,            rules                60:1
43:22                23:21, 24:8,           4:15, 4:16           scenario
renew                25:22, 26:1,           run                  57:23
35:4                 26:22, 28:3,           36:7, 39:24          scene
rephrase             30:15, 41:10,          running              22:20, 22:21,
5:18, 37:15          41:22, 43:13,          62:6                 25:8, 29:5,
reported             44:22, 46:10,          rural                29:19, 31:17,
58:11                53:19, 57:16,          10:20                31:23, 32:10,
reporter             58:3, 58:8,                     S           33:2, 40:14,
4:9, 5:24, 6:5,      59:10, 60:19,                               47:4, 52:1,
                                            said                 52:4, 52:10,
66:6, 66:34          61:15, 62:16,          15:20, 38:16,
reports              63:3                                        53:2, 53:9,
                                            43:12, 45:9,         63:16, 63:22
30:18, 30:21         riley                  54:19, 54:20,
representation       33:23, 40:3                                 schain
                                            56:5, 66:12,         2:15, 31:10
17:19                rings                  66:16
requested            31:10                                       schedule
                                            same                 8:4, 8:10
27:23                rise                   5:18, 6:4,
                     56:11



                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 34 of 39 PageID #:947
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             33
schedules            14:1, 16:10,           25:3, 29:4,          signing
8:14                 36:12, 46:2            30:19, 30:23,        8:18
schmidt              sensing                33:7, 33:9,          signs
58:12                61:20                  34:6, 49:9,          45:13
school               sent                   50:5, 51:8, 52:1     similar
11:17, 11:21,        10:6                   shootings            63:4
34:10, 34:12,        sequence               49:19, 50:1          simply
34:14, 34:15,        28:19                  short                38:20
34:22, 35:2          sergeant               31:19, 56:23         since
schwartz             52:23, 57:24,          shorthand            12:11, 14:13
2:15                 58:12, 65:2            66:5                 sir
sean                 sergeant's             shortly              4:8, 4:21, 5:6,
19:10, 32:9,         65:3                   11:20, 32:17         5:10, 6:16,
32:23, 33:19,        serve                  shot                 7:11, 7:19, 9:5,
36:5                 55:2                   32:24, 36:8,         10:12, 11:6,
sean's               session                36:14, 37:18,        11:10, 12:7,
22:21, 30:9          18:1                   39:9, 40:9,          12:11, 12:22,
search               set                    43:3, 53:11,         13:6, 14:12,
55:3                 8:4, 8:10,             64:11, 64:15         14:16, 17:7,
seat                 66:27                  shots                18:20, 18:24,
39:14                several                29:1, 29:20,         19:3, 19:6,
seated               24:4, 55:4             31:21, 32:9,         19:14, 19:23,
36:13, 61:17,        sheet                  52:23, 53:3          20:11, 20:16,
62:6                 66:9                   should               20:19, 20:22,
second               sheriff                4:13, 18:8,          21:15, 23:10,
26:21                50:21                  60:1, 60:2,          28:9, 29:13,
seconds              sheriff's              60:9, 61:13          30:13, 30:16,
31:19                5:2, 6:24,             shows                30:20, 30:24,
security             10:2, 10:19,           24:10, 24:20,        31:5, 31:14,
10:4                 13:17, 17:19,          25:5, 25:6,          32:15, 32:19,
see                  19:10, 35:16           25:10                33:7, 33:11,
26:4, 26:10,         shift                  shut                 34:4, 34:7,
26:11, 26:18,        11:23                  38:5, 38:6,          34:13, 34:21,
26:23, 27:6,         shifts                 38:14                34:24, 35:3,
28:8, 31:24,         11:24                  side                 36:11, 36:24,
35:16, 36:9,         shirt                  26:24, 27:7,         37:19, 37:23,
41:8, 42:6,          56:24, 57:1            32:6, 38:16,         38:12, 38:15,
43:8, 45:1,          shock                  42:6, 44:11          39:17, 40:20,
46:10, 47:9,         46:3                   sight                41:2, 41:11,
48:20, 51:3,         shooting               25:21, 27:2          42:4, 42:15,
51:8, 51:10,                                sign                 42:18, 44:3,
                     5:15, 13:5,                                 44:6, 44:24,
52:10, 52:24         13:9, 13:14,           8:16
seeing                                      signature-7dmpd      45:12, 46:21,
                     14:13, 14:20,                               47:1, 47:11,
56:10                15:6, 21:21,           66:30
seen                                        significant          47:16, 47:21,
                     22:6, 23:21,                                48:3, 49:7,
23:8                 23:24, 24:2,           22:12
sense                                       significantly        51:2, 51:9,
                     24:7, 24:11,                                58:4, 62:18,
9:6, 11:12,          24:14, 24:19,          23:12




                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 35 of 39 PageID #:948
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             34
63:8, 65:6           55:6                   22:4, 23:19,         42:21, 43:4,
sit                  sometimes              31:24, 40:1,         45:19, 60:17
20:7                 43:2                   40:3                 stood
situated             somewhere              ss                   40:7
21:22                42:20                  1:2, 66:2            stop
situation            sorry                  stand                32:14, 37:3,
40:10, 48:19,        53:7                   40:13                37:6, 37:10,
50:19, 54:24,        sort                   standing             37:18, 41:7,
64:11                5:11, 59:16            31:24, 32:1,         42:1, 42:2,
size                 source                 33:16                54:20
33:17                49:1                   stapf                stoppage
slim                 south                  1:33, 66:5,          59:3
64:17                2:7                    66:33                stopped
slow                 speak                  start                61:17
58:14, 59:17,        4:3, 61:5              6:2, 55:1            stopping
62:17                special                started              37:2, 54:21
small                12:16, 12:21           44:18, 57:2          street
11:16, 36:1,         specialized            starting             1:29, 2:7,
48:11                9:11                   7:8                  2:16, 13:13,
some                 specialty              state                24:3, 41:7,
5:12, 5:21,          9:16                   1:1, 4:8, 4:17,      42:1, 54:21
8:18, 8:23,          specific               13:2, 15:16,         stuff
9:21, 11:8,          9:3, 14:7,             16:2, 17:5,          9:16
11:18, 12:9,         38:9, 38:13            17:13, 17:16,        subject
14:19, 14:20,        specifically           18:2, 18:18,         39:8
15:5, 16:20,         35:11, 65:3            19:9, 38:17,         sugars
17:4, 23:20,         speculation            48:17, 50:6,         19:12, 20:5,
28:24, 35:4,         36:16, 42:22,          50:9, 50:13,         32:4, 33:20,
42:13, 43:4,         42:24, 60:15,          50:20, 50:24,        39:19, 39:20,
44:20, 45:9,         60:18, 61:12,          66:1                 40:5
45:21, 47:14,        61:23, 61:24,          state's              suite
48:14, 49:3,         62:13                  48:20                2:7, 2:16
49:4, 49:10,         speed                  stated               suites
57:22, 59:5,         36:10, 58:14,          66:8                 1:28
59:10, 59:16,        59:17, 62:17           statement            supervise
60:21, 60:22,        spelling               17:5, 17:8,          7:18
61:2, 61:19,         4:9                    17:12, 17:16,        supervision
62:8                 spend                  18:7, 18:17,         66:14
somebody             35:24                  18:19, 19:8,         supervisor
32:10, 36:6,         spoken                 30:18, 30:22,        64:7
64:12                31:1                   62:5                 supervisor's
someone              spot                   states               63:16, 63:21,
28:3, 55:8           23:19                  1:4, 66:6            64:4
something            squad                  sterling             sure
5:23, 14:18,         19:11, 19:13,          10:4, 17:14,         5:11, 5:18,
15:4, 15:24,         19:17, 20:1,           60:5, 61:9           12:4, 12:13,
27:10, 35:12,        20:6, 20:24,           still                13:21, 24:16,
41:20, 55:5,         21:13, 22:3,           8:22, 12:9,          36:5, 37:8,




                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 36 of 39 PageID #:949
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             35
39:7, 51:2,          ten-week               31:18, 31:20,        together
58:7, 59:19          13:2                   40:7, 44:14,         35:22, 35:23
surrounding          term                   44:15, 44:21,        told
5:14, 60:24          40:18                  44:23, 45:4,         16:19, 27:19,
suspect              terminology            45:9, 46:7,          30:14, 32:11,
9:19, 41:20,         59:20                  46:8, 46:21,         32:23, 39:24,
54:23, 55:13,        terms                  55:19, 56:3,         40:2, 40:6,
58:24                9:2, 11:4,             56:6                 43:7, 43:12
sustained            17:1, 22:16,           three                took
48:14                41:1, 41:9,            20:13                13:5, 13:9,
sworn                47:22, 48:4,           through              13:14, 14:19,
4:2, 66:9            49:5, 49:10,           12:12, 13:17,        15:5, 16:7,
         T           65:1                   31:16, 38:3,         17:22, 18:9,
take                 testified              38:18, 50:18,        21:22, 40:5,
5:24, 6:7, 6:8,      4:4, 53:8,             60:6                 40:15, 52:1,
6:11, 9:24,          55:19, 57:6            time                 56:24
11:7, 12:24,         testify                5:16, 6:4,           total
13:12, 17:12,        27:12, 27:20,          8:11, 8:21,          33:15
40:24, 41:9,         66:10                  9:21, 9:24,          touch
42:2, 48:2,          testimony              10:14, 10:20,        37:20
48:19, 61:4          53:5, 56:4,            11:1, 11:18,         tough
taken                66:16                  15:6, 15:13,         5:23
4:15, 66:22          text                   15:17, 16:3,         towards
takes                8:13                   23:15, 23:23,        32:5, 44:11
                     th                     24:2, 24:19,         trade
27:2                                        27:1, 28:6,
talk                 66:28                                       34:23, 60:20,
                     thank                  29:18, 29:20,        60:21
6:4                                         31:19, 35:24,
talked               65:11                                       traffic
                     thereupon              39:11, 44:13,        9:14, 29:22,
16:12, 56:2                                 44:23, 45:17,
talking              66:12                                       41:7, 42:1,
                     thing                  46:24, 52:6,         54:20, 58:9,
6:3, 15:9,                                  52:9, 53:2,
15:11, 16:14,        6:1, 6:9,                                   59:13, 59:21,
                     10:24, 32:10,          57:5, 58:16          62:22, 63:6,
31:6, 54:18,                                timeline
55:23, 60:4          43:8, 53:1                                  64:8, 65:5
                     think                  37:9                 training
tell                                        times
7:17, 9:7,           16:19, 23:5,                                10:6, 12:21,
                     24:9, 24:12,           11:22, 46:8,         33:22, 45:24
10:13, 20:10,                               55:2, 55:10
21:22, 24:19,        24:23, 25:5,                                transcript
                     26:2, 27:4,            title                66:15
25:5, 25:10,                                9:3, 9:24,
28:17, 29:17,        33:17, 38:24,                               transmitted
                     41:4, 45:5,            12:17                31:22
32:11, 33:24,                               titus
37:23, 38:1,         51:16, 52:22,                               transparency
                     52:24, 53:8,           17:18                48:16, 48:24
39:5, 43:6,                                 today
43:15, 43:23,        56:1, 57:17,                                tried
44:7, 46:4,          63:9                   20:7, 31:4,          36:7
47:8, 62:19          thought                45:5, 45:19          troopers
telling              14:20, 25:4,           today's              18:10
44:21, 58:1          25:7, 29:6,            19:4                 true
                                                                 46:16, 52:21,



                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 37 of 39 PageID #:950
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             36
53:23, 66:8,         unfortunately          vehicle's            18:14, 27:18,
66:15                41:19, 43:1,           25:2                 60:23, 61:2
truth                45:18, 64:11           vehicles             warranted
4:3, 66:10           union                  20:15                48:21
try                  11:20, 17:18           verbiage             warrants
31:14, 46:13,        unit                   5:22, 33:5           55:3
58:22, 64:17         9:11                   video                watch
trying               united                 19:12, 19:17,        19:12, 19:24,
7:21, 25:11,         1:4                    19:20, 20:1,         20:12
41:5, 41:15,         unless                 20:2, 20:3,          watched
45:16                58:18                  20:9, 20:20,         19:11, 19:17,
turning              unreliable             22:11, 22:13,        19:20, 20:2,
38:14                21:4                   22:15, 22:19,        20:4, 27:9
two                  until                  23:3, 23:8,          watching
7:19, 9:3,           10:5                   23:9, 23:11,         25:9
18:6, 20:14,         use                    23:13, 23:20,        water
32:3, 36:19          5:22, 43:1,            23:23, 24:6,         35:24
type                 47:15, 47:20,          24:13, 25:9,         way
12:9, 18:11,         47:23, 48:12,          25:11, 25:12,        28:24, 34:19,
48:14                49:11, 50:12,          25:13, 25:20,        45:19, 54:16
typically            51:5, 55:14            26:3, 26:13,         we'll
8:3                  using                  26:23, 27:9,         6:8, 65:10
         U           5:21, 11:4,            27:21, 28:15,        we're
uh-huh               51:13                  30:5, 30:6,          5:18, 8:9,
                     usually                30:9, 30:12          48:11
5:22                                        videos
ultimately           8:17, 31:14                                 weapon
                              V             19:11, 20:12,        10:10, 10:21,
12:23                                       20:14, 30:7
under                vehicle                                     11:5, 11:7,
                                            village              26:11, 26:12,
21:7, 60:11,         21:10, 21:20,          7:3, 7:7, 7:14,
66:13, 66:14         22:8, 22:14,                                28:4, 28:5,
                                            7:16, 12:17,         28:10, 28:18,
understand           23:2, 23:13,           47:18, 47:23
5:16, 8:20,          24:1, 29:12,                                32:12, 32:17,
                                            violation            33:13, 36:3,
11:4, 16:18,         32:6, 32:13,           63:6, 64:8,
23:17, 27:15,        33:10, 33:18,                               36:4, 55:14
                                            65:5                 wear
27:21, 37:14,        36:7, 36:20,           violations
41:4, 41:5,          36:23, 37:3,                                21:14
62:24                37:10, 37:17,          62:22                wearing
understandable       37:21, 37:24,          vs                   21:12
10:16                38:6, 38:7,            1:16                 went
understanding        38:10, 39:8,                    W           34:22, 35:9,
23:5, 24:17,         39:14, 40:6,           waist                40:3
24:23, 37:9,         44:11, 44:12,          42:11                weren't
49:16, 60:3          54:13, 55:23,          walk                 23:1, 34:9,
understood           58:17, 58:19,          11:18, 31:16         43:18
6:13, 50:4,          58:24, 61:17,          walked               west
50:18                61:21, 62:21,          32:8                 2:16, 22:5
unfortunate          63:5, 63:18            want                 western
64:16                                       7:20, 8:20,          1:3, 1:6




                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 38 of 39 PageID #:951
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             37
whatever             witness                11:1, 34:11,                   2
6:7, 8:15, 40:4      2:21, 3:3, 4:2,        34:17                20
whereby              27:16, 27:22,          years                1:25, 4:22
41:24                51:11, 51:15,          4:21, 34:16          2006
whereof              66:9, 66:12,           yell                 5:1, 35:8
66:27                66:16, 66:27           55:4                 2008
whether              wondering              yesterday            10:3
14:13, 41:6,         56:5, 56:9             19:16, 19:21         2009
42:1, 42:7,          woods                  yield                10:5, 35:9
43:6, 43:15,         35:24                  58:17                2012
43:23, 47:2,         word                   yourself             13:1
48:5, 49:5,          58:2                   35:18                2018
49:10, 50:9,         words                           .           5:15, 13:5,
52:22, 52:23,        50:22, 61:17,          .2880                13:14, 51:4
53:20, 63:3          62:6                   2:9                  2019
white                work                   .5700                1:25, 7:2,
21:23, 27:1,         7:24, 8:3, 8:6,        2:18                 66:28
27:8, 29:19,         8:15, 10:19,           .8405                224.406
36:9                 11:22, 11:24,          2:27                 2:27
whiteside            21:1, 21:2,                                 2nd
5:2, 6:15,           21:5, 21:8, 61:8                0
                                            004144               1:29
6:21, 6:24, 7:1,     worked
7:15, 7:23,          11:16                  1:33, 66:36                   3
8:21, 9:20,          working                06                   3
9:23, 10:5,          6:14, 7:5,             65:15                65:15
15:8, 15:12,         11:11, 21:18,          084                  301
20:15, 48:20,        35:23                  1:33, 66:36          1:29
49:23, 50:3,         works                           1           312.262
50:9, 50:23,         5:12, 10:1             1                    2:9
58:1, 59:14,         workweek               1:26                 312.345
59:23, 60:5,         8:1                    10                   2:18
61:9, 62:19          worried                66:28                         4
whoever              63:1                   1020                 45
41:20                worth                  2:7                  1:26
whole                21:1, 21:2             1168                 475
16:19                writing                66:37                2:25
willing              66:13                  140                           5
8:15                 written                2:7
window                                                           50035
                     18:6, 18:18,           16                   1:16
38:24                30:21                  8:6
windows                                                          51
                     wrong                  18                   3:7
29:10                32:23, 41:20           1:16
windshield                                                       5300
                              Y             19                   2:16
25:16                yard                   1:25
within                                                           57
                     32:2                   1993                 3:6
31:18, 33:16,        year                   34:18
36:19, 40:17,
43:20, 61:8          6:23, 7:9,




                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
  Case: 3:18-cv-50035 Document #: 138-5 Filed: 06/14/21 Page 39 of 39 PageID #:952
                                   EXHIBIT E
                          Transcript of Deputy Rollie Elder
                          Conducted on November 19, 2019                             38
         6
60062
2:26
60602
2:17
60603
2:8
63
3:7
64
3:6
650
2:25
         7
70
2:16
         8
80
8:12




                                  PLANET DEPOS
                     888.433.3767 | WWW.PLANETDEPOS.COM
